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                                           UNITED STATES OF AMERICA
                                           SECURITIES AND EXCHANGE COMMISSION


                                                         ATTESTATION


  IT IS HEREBY ATTESTED THAT:


        The attached Form FWP was received in this Commission on 7/31/2006, under the
        name of American Home Mortgage Assets Trust 2006-3, File No. 333-131641-03,
        pursuant to the relevant Act(s) of the Commission.




  This certified document was produced from the files of this Commission on
         2/7/2019
  ___________________________.
            Date




                                 It is hereby certified that the Secretary of the U.S. Securities and
                                 Exchange Commission, Washington, DC, which Commission was
                                 created by the Securities Exchange Act of 1934 (15 U.S.C. 78a et
                                 seq.) is official custodian of the records and files of said
                                 Commission and was such official custodian at the time of executing
                                 the above attestation.

                                                         For the Commission


                                                              Secretary




  SEC 334 (9-12)
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FWP 1 d546584.htm AMERICAN HOME MORTGAGE ASSETS TRUST 2006-3
The following is a free writing prospectus. The information in this free writing prospectus is preliminary and is subject to completion or change.

                                                                        FREE WRITING PROSPECTUS

                                            American Home Mortgage Assets Trust 2006-3
                                                                                     (Issuing Entity)




                                                                              $[1,682,386,000]
                                                                                (Approximate)
                                       Mortgage Pass-Through Certificates, Series 2006-3

                                                                    American Home Mortgage Assets LLC
                                                                               (Depositor)

                                                                  American Home Mortgage Servicing, Inc.
                                                                               (Servicer)




                                                                                   Lead Underwriter

                                                                                      July 26, 2006

The issuer has filed a registration statement (including a prospectus) with the SEC for the offering to which this free writing prospectus relates. Before you invest, you should read the
prospectus in that registration statement and other documents the issuer has filed with the SEC for more complete information about the issuer and this offering. You may get these documents
for free by visiting EDGAR on the SEC Web site at www.sec.gov. Alternatively, the issuer, any underwriter or any dealer participating in the offering will arrange to send you the prospectus if
you request it by calling Deutsche Bank at 1-800-503-4611. This free writing prospectus is not required to contain all information that is required to be included in the base prospectus and the
prospectus supplement. The information in this free writing prospectus is preliminary and is subject to completion or change. The information in this free writing prospectus, if conveyed
prior to the time of your commitment to purchase, supersedes information contained in any prior similar free writing prospectus relating to these securities. THIS FREE WRITING
PROSPECTUS IS NOT AN OFFER TO SELL OR A SOLICITATION OF AN OFFER TO BUY THESE SECURITIES IN ANY STATE WHERE SUCH OFFER, SOLICITATION OR SALE IS
NOT PERMITTED. The information in this free writing prospectus may be based on preliminary assumptions about the pool assets and the structure. Any such assumptions are subject to
change.
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 American Home Mortgage Assets Trust 2006-3
 Mortgage Pass-Through Certificates, Series 2006-3

Neither the issuer of the securities nor any of its affiliates prepared, provided, approved or verified any statistical or numerical information presented herein, although
that information may be based in part on loan level data provided by the issuer or its affiliates. Investors are urged to read the base prospectus and the prospectus
supplement and other relevant documents filed or to be filed with the Securities and Exchange Commission because they contain important information. Such
documents may be obtained without charge at the Securities and Exchange Commission’s website. Once available, the base prospectus and prospectus supplement
may be obtained without charge by contacting Deutsche Bank at 1-800-503-4611. This communication does not contain all information that is required to be included
in the base prospectus and the prospectus supplement. The information in this communication is preliminary and is subject to completion or change. The information
in this communication supersedes information contained in any prior similar communication relating to these securities. This communication is not an offer to sell or a
solicitation of an offer to buy these securities in any state where such offer, solicitation or sale is not permitted. You should consult your own counsel, accountant,
and other advisors as to the legal, tax, business, financial and related aspects of a purchase of these securities.

The attached information contains certain tables and other statistical analyses (the “Computational Materials”) which have been prepared by DBSI in reliance upon
information furnished by the Seller. Numerous assumptions were used in preparing the Computational Materials which may or may not be reflected herein. As such,
no assurance can be given as to whether the Computational Materials and/or the assumptions upon which they are based reflect present market conditions or future
market performance. These Computational Materials should not be construed as either projections or predictions or as legal, tax, financial or accounting advice. Any
weighted average lives, yields and principal payment periods shown in the Computational Materials are based on prepayment assumptions, and changes in such
prepayment assumptions may dramatically affect such weighted average lives, yields and principal payment periods. In addition, it is possible that prepayments on
the underlying assets will occur at rates slower or faster than the rates shown in the attached Computational Materials. Furthermore, unless otherwise provided, the
Computational Materials assume no losses on the underlying assets and no interest shortfalls. The specific characteristics of the securities may differ from those
shown in the Computational Materials by a permitted variance of +/-10%. The principal amount and designation of any security described in the Computational
Materials are subject to a permitted variance of +/-10% prior to issuance. Neither DBSI nor any of its affiliates makes any representation or warranty as to the actual
rate or timing of payments on any of the underlying assets or the payments or yield on the securities.




THIS INFORMATION IS FURNISHED TO YOU SOLELY BY DBSI AND NOT BY THE ISSUER OF THE SECURITIES OR ANY OF ITS AFFILIATES (OTHER
THAN DBSI). DBSI IS ACTING AS UNDERWRITER AND NOT ACTING AS AGENT FOR THE ISSUER IN CONNECTION WITH THE PROPOSED
TRANSACTION.
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                                                        PRELIMINARY TERM SHEET DATED: July 26, 2006
                                                              American Home Mortgage Assets LLC.
                                                               Mortgage Pass-Through Trust 2006-3
                                                                 $[1,682,386,000] (Approximate)
                                                                Subject to a variance of up to 10%
                                                          All Terms and Conditions are subject to change

                                                                      Structure Overview(1)
                                                                    To 1% Optional Termination

                                                                                              WAL to      Pmt        Interest
                   Approximate                                               Legal Final       Call      Delay       Accrual                           Expected
      Class          Size ($)                       Type                      Maturity         (yrs)     (days)       Basis      Pass-Through Rate Ratings [M/S]
     I-A-1               357,003,000      Super Senior/MTA Floater          October 2046        3.56       24         30/360         Floating(2)    [Aaa/AAA]
    I-A-2-1               98,751,000            MTA Floater                 October 2046        3.56       24         30/360         Floating(3)    [Aaa/AAA]
    I-A-2-2               50,000,000            MTA Floater                 October 2046        3.56       24         30/360         Floating (4)   [Aaa/AAA]
     I-A-3                89,251,000            LIBOR Floater               October 2046        3.56        0        ACT/360         Floating(5)    [Aaa/AAA]
   II-A-1-1              215,673,000      Super Senior/MTA Floater          October 2046        3.61       24         30/360         Floating(6)    [Aaa/AAA]
   II-A-1-2              145,000,000      Super Senior/MTA Floater          October 2046        3.61       24         30/360         Floating(7)    [Aaa/AAA]
     II-A-2              150,281,000            MTA Floater                 October 2046        3.61       24         30/360         Floating (8)   [Aaa/AAA]
   II-A-3-1               60,000,000            MTA Floater                 October 2046        3.61       24         30/360         Floating(9)    [Aaa/AAA]
   II-A-3-2               30,168,000            MTA Floater                 October 2046        3.61       24         30/360        Floating(10)    [Aaa/AAA]
  III-A-1-1              114,935,000     Super Senior/LIBOR Floater         October 2046        3.52        0        ACT/360        Floating (11)   [Aaa/AAA]
  III-A-1-2              114,935,000     Super Senior/LIBOR Floater         October 2046        3.52        0        ACT/360        Floating(12)    [Aaa/AAA]
    III-A-2               95,779,000            LIBOR Floater               October 2046        3.52        0        ACT/360        Floating(13)    [Aaa/AAA]
  III-A-3-1               44,358,000            LIBOR Floater               October 2046        2.05        0        ACT/360        Floating(14)    [Aaa/AAA]
  III-A-3-2               13,110,000            LIBOR Floater               October 2046        8.50        0        ACT/360        Floating (15)   [Aaa/AAA]
      M-1                 43,116,000            LIBOR Floater               October 2046        6.53        0        ACT/360        Floating(16)    [Aa1/AA+]
      M-2                 11,836,000            LIBOR Floater               October 2046        6.39        0        ACT/360        Floating(16)     [Aa2/AA]
      M-3                  7,609,000            LIBOR Floater               October 2046        6.31        0        ACT/360        Floating (16)    [Aa3/AA]
      M-4                  7,609,000            LIBOR Floater               October 2046        6.22        0        ACT/360        Floating(16)      [A1/AA]
      M-5                  8,454,000            LIBOR Floater               October 2046        6.08        0        ACT/360        Floating(16)      [A2/A+]
      M-6                  9,300,000            LIBOR Floater               October 2046        5.83        0        ACT/360        Floating(16)      [Baa1/A]
      M-7                  9,300,000            LIBOR Floater               October 2046        5.47        0        ACT/360        Floating(16)   [Baa3/BBB+]
      M-8                  5,918,000            LIBOR Floater               October 2046        4.60        0        ACT/360        Floating(16)        [Baa3]
Total Offered      $[1,682,386,000]

(1) The Structure is preliminary and subject to change.
(2) The pass-through rate on the Class I-A-1 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007, One-
year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group I Net WAC Cap Rate. If the Optional Call is not
exercised on the first possible date, the specified margin on the Class I-A-1 Certificates will increase to [2.0] times the current margin.
(3) The pass-through rate on the Class I-A-2-1 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group I Net WAC Cap Rate. If the Optional Call
is not exercised on the first possible date, the specified margin on the Class I-A-2-1 Certificates will increase to [2.0] times the current margin.
(4) The pass-through rate on the Class I-A-2-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group I Net WAC Cap Rate. If the Optional Call
is not exercised on the first possible date, the specified margin on the Class I-A-2-2 Certificates will increase to [2.0] times the current margin.
(5) The pass-through rate on the Class I-A-3 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii) the
Group I Net WAC Cap Rate. If the Optional Call is not exercised on the first possible date, the specified margin on the Class I-A-3 Certificates will increase to
[2.0] times the original specified margin.
(6) The pass-through rate on the Class II-A-1-1 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group II Net WAC Cap Rate. If the Optional Call
is not exercised on the first possible date, the specified margin on the Class II-A-1-1 Certificates will increase to [2.0] times the current margin.
(7) The pass-through rate on the Class II-A-1-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group II Net WAC Cap Rate. If the Optional Call
is not exercised on the first possible date, the specified margin on the Class II-A-1-2 Certificates will increase to [2.0] times the current margin.
(8) The pass-through rate on the Class II-A-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group II Net WAC Cap Rate. If the Optional Call
is not exercised on the first possible date, the specified margin on the Class II-A-2 Certificates will increase to [2.0] times the current margin.
(9) The pass-through rate on the Class II-A-3-1 will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007, One-year
MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group II Net WAC Cap Rate. If the Optional Call is not
exercised on the first possible date, the specified margin on the Class II-A-3-1 Certificates will increase to [2.0] times the current margin.
(10) The pass-through rate on the Class II-A-3-2 Certificates will be a floating rate equal to the lesser of (i) on or before the Distribution Date in January, 2007,
One-year MTA plus [ ]% and after the Distribution Date in January, 2007, One-year MTA plus [ ]% and (ii) the Group II Net WAC Cap Rate. If the Optional Call
is not exercised on the first possible date, the specified margin on the Class II-A-3-2 Certificates will increase to [2.0] times the current margin.
(11) The pass-through rate on the Class III-A-1-1 Certificates will be a floating rate equal to One-month LIBOR plus [ ]% so long as a Class III-A-1-1 Swap
Default has not occurred and is not continuing and if a Class III-A-1-1 Swap Default has occurred and is continuing, will equal the lesser of (i) One-month
LIBOR plus [ ]% and (ii) the Group III Net WAC Cap Rate (equal to the weighted average net mortgage interest rate of the Group III Mortgage Loans). The Class
III-A-1-1 Certificates will have the benefit of the Class III-A-1-1 Swap Agreement as further described below. If the Optional Call is not exercised on the first
possible date, the specified margin on the Class III-A-1-1 Certificates will increase to [2.0] times the current margin.
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(12) The pass-through rate on the Class III-A-1-2 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii)
the Group III Net WAC Cap Rate. If the Optional Call is not exercised on the first possible date, the specified margin on the Class III-A-1-2 Certificates will
increase to [2.0] times the original specified margin.
(13) The pass-through rate on the Class III-A-2 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii) the
Group III Net WAC Cap Rate. If the Optional Call is not exercised on the first possible date, the specified margin on the Class III-A-2 Certificates will increase to
[2.0] times the original specified margin.
(14) The pass-through rate on the Class III-A-3-1 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii)
the Group III Net WAC Cap Rate. If the Optional Call is not exercised on the first possible date, the specified margin on the Class III-A-3-1 Certificates will
increase to [2.0] times the original specified margin.
(15) The pass-through rate on the Class III-A-3-2 Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and (ii)
the Group III Net WAC Cap Rate. If the Optional Call is not exercised on the first possible date, the specified margin on the Class III-A-3-2 Certificates will
increase to [2.0] times the original specified margin.
(16) The Pass-Through Rates for each of the Class M Certificates will be a floating rate equal to the lesser of (i) One-Month LIBOR plus a specified margin and
(ii) the Subordinate Net WAC Cap Rate. If the Optional Call is not exercised on the first possible date, the specified margins on the Class M Certificates will
increase to [1.5] times the original specified margins.
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                                                              Transaction Overview
Certificates:               n The Class I-A-1, Class I-A-2-1, Class I-A-2-2 and Class I-A-3 (the “Group I Senior Certificates”), the Class II-A-1-1, Class II-
                               A-1-2, Class II-A-2, Class II-A-3-1 and Class II-A-3-2 Certificates (the “Group II Senior Certificates”), the Class III-A-1-1,
                               Class III-A-1-2, Class III-A-2, Class III-A-3-1 and Class III-A-3-2 (the “Group III Senior Certificates”). The trust will also
                               issue the Class R Certificates (together with the Group I Senior Certificates, the Group II Senior Certificates and the Group
                               III Senior Certificates, the “Senior Certificates”) and the Class M-1, Class M-2, Class M-3, Class M-4, Class M-5, Class M-
                               6, Class M-7 and Class M-8 Certificates (the “Subordinate Certificates”), the Class C Certificates and the Class P
                               Certificates. Distributions of interest and/or principal on the Certificates (other than the Class III-A-1-1 Certificates) will be
                               made from payments received in connection with the Mortgage Loans and, in the case of the Group I Senior Certificates,
                               solely from the Group I Mortgage Loans, in the case of the Group II Senior Certificates, solely from the Group II Mortgage
                               Loans and, in the case of the Group III Senior Certificates (other than the Class III-A-1-1 Certificates), solely from the
                               Group III Mortgage Loans. Distributions of interest and principal with respect to the Class III-A-1-1 Certificates will be
                               made from payments received on the Group III Mortgage Loans and from certain payments that may be made pursuant to
                               the Class III-A-1-1 Swap Agreement.

LIBOR Certificates:         n The Class I-A-3, Class III-A-1-1, Class III-A-1-2, Class III-A-2, Class III-A-3-1 and Class III-A-3-2 (together the “Senior
                               LIBOR Certificates”). The trust will the Class M-1, Class M-2, Class M-3, Class M-4, Class M-5, Class M-6, Class M-7 and
                               Class M-8 Certificates (the “Subordinate LIBOR Certificates”, and together with the Senior LIBOR Certificates the “LIBOR
                               Certificates”),

Offered Certificates:       n The Group I Senior Certificates, Group II Senior Certificates, the Group III Senior Certificates and the Subordinate
                               Certificates (together the “Offered Certificates”).

Non-Offered Certificates:   n Class C, Class P and Class R Certificates.

Pricing Speed:              n 25% CPR

Depositor:                  n American Home Mortgage Assets LLC

Master Servicer:            n Wells Fargo Bank, National Association

Originator:                 n American Home Mortgage Investment Corp. (or an affiliate thereof)

Servicer:                   n American Home Mortgage Servicing, Inc.

Trustee:                    n Deutsche Bank National Trust Company

Cut-off Date:               n July 1, 2006

Closing Date:               n On or around July 28, 2006

Investor Settlement Date:   n LIBOR based Certificates: on or around July 28, 2006
                            n MTA based Certificates: on or around July 31, 2006

Legal Structure:            n REMIC

Optional Call:              n 1% Cleanup Call

Distribution Dates:         n 25th of each month, or next business day, commencing in August 2006

Registration:               n The Offered Certificates will be made available in book-entry form through DTC.

Federal Tax Treatment:      n It is anticipated that a portion of the Class A Certificates and Subordinate Certificates will be treated as REMIC regular
                               interests for federal tax income purposes. The Class A Certificates and Subordinate Certificates will also be entitled to
                               certain non-REMIC payments.
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                                                           Transaction Overview (Cont.)



ERISA Eligibility:                n      The Class I-A-1, Class II-A-1-1, Class II-A-1-2, Class III-A-1-1 and Class III-A-1-2 Certificates are expected to be
                                         ERISA eligible. Prior to the termination of the Class III-A-1-1 Swap Agreement and Swap Account, plans may
                                         invest in the Class III-A-1-1 Certificates if they meet the requirements of the investor-based exemption.
                                         Prospective investors should review with their legal advisors whether the purchase and holding of the Offered
                                         Certificates could give rise to a transaction prohibited or not otherwise permissible under ERISA, the Internal
                                         Revenue Code or other similar laws.

Advances:                     n   The Servicer is obligated to make cash advances with respect to delinquent payments of principal and interest on the
                                  mortgage loans to the extent the Servicer believes that the cash advances can be repaid from future payments on the
                                  mortgage loans. These cash advances are only intended to maintain a regular flow of scheduled interest and principal
                                  payments on the certificates and are not intended to guarantee or insure against losses.

Compensating Interest:        n   On each Distribution Date, the Servicer is required to cover certain interest shortfalls as a result of certain prepayments,
                                  by reducing its servicing compensation, as more fully described in the prospectus supplement. The reduction in the
                                  Servicer’s servicing compensation for any Distribution Date will be limited to an amount equal to one month’s interest on
                                  the amount of principal so prepaid for the month of prepayment at the applicable Net WAC Cap Rate; provided, however,
                                  that the Servicer’s aggregate obligations for any month shall be limited to the total amount of servicing fees actually
                                  received with respect to the Mortgage Loans by the Servicer during such month.

Interest Accrual Period:      n   The Interest Accrual Period for the Class I-A-1, Class I-A-2-1, Class I-A-2-2, Class II-A-1-1, Class II-A-1-2 and Class II-A-
                                  2, Class II-A-3-1, Class II-A-3-2 Certificates for any Distribution Date will be the calendar month before the Distribution
                                  Date (on a 30/360 basis). The Interest Accrual Period for the Class I-A-3, Class III-A-1-1, Class III-A-1-2, Class III-A-2,
                                  Class III-A-3-1, Class III-A-3-2 and Subordinate Certificates for any Distribution Date will be the period commencing on
                                  the Distribution Date in the month prior to the month in which that Distribution Date occurs (or the Closing Date, in the
                                  case of the first Distribution Date) and ending on the day immediately prior to that Distribution Date (on an actual/360
                                  basis).

Group I Net WAC Cap Rate:     n   The weighted average of the mortgage rates on the Group I Mortgage Loans as of the beginning of the related mortgage
                                  due period minus servicing fees and any lender paid mortgage insurance fees for such distribution date. The Group I Net
                                  WAC Cap Rate is subject to an adjustment based on the actual number of days that have elapsed in the Interest Accrual
                                  Period.

Group II Net WAC Cap Rate:    n   The weighted average of the mortgage rates on the Group II Mortgage Loans as of the beginning of the related mortgage
                                  due period minus servicing fees and any lender paid mortgage insurance fees for such distribution date. The Group II Net
                                  WAC Cap Rate is subject to an adjustment based on the actual number of days that have elapsed in the Interest Accrual
                                  Period.

Group III Net WAC Cap Rate:   n   The weighted average of the mortgage rates on the Group III Mortgage Loans as of the beginning of the related mortgage
                                  due period minus servicing fees and any lender paid mortgage insurance fees for such distribution date. The Group III Net
                                  WAC Cap Rate is subject to an adjustment based on the actual number of days that have elapsed in the Interest Accrual
                                  Period.

Subordinate Net WAC Cap       n   For any Distribution Date, the weighted average of the Group 1 Net WAC Cap Rate, the Group II Net WAC Cap Rate, and
Rate:                             the Group III Net WAC Cap Rate, weighted based on the Group Subordinate Amount for each Loan Group.

Group Subordinate Amount:     n   For any Distribution Date and any Loan Group, the excess of (i) aggregate of the stated principal balances of the mortgage
                                  loans in such Loan Group as of the first day of the related Due Period over (ii) the aggregate of the Certificate Principal
                                  Balances of the related Class A Certificates (and in the case of Loan Group III, any Class III-A-1-1 Deferred Interest
                                  Amount (as defined herein)) before taking into account any distribution on such Distribution date.
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                                               Transaction Overview (Cont.)

Collateral:           n   The mortgage loans (the “Mortgage Loans”) are 30 and 40 year adjustable rate loans secured by first liens on one-to
                          four-family residential properties. The mortgage rates for the Mortgage Loans are generally fixed for an initial period
                          from one, three, six or twelve months after origination. Substantially all of the mortgage loans are negative amortization
                          loans with rates that adjust monthly and scheduled payments that adjust annually. At the end of the initial fixed-rate
                          period, if any, each mortgage rate will adjust monthly based on the Mortgage Index plus the related margin. The
                          “Mortgage Index” for the mortgage rates for the Mortgage Loans is the twelve-month average monthly yield on U.S.
                          Treasury Securities adjusted to a constant maturity of one-year, as published by the Federal Reserve Board in the
                          Federal Reserve Statistical Release “Selected Interest Rates (H.15)” (“One-year MTA”).

                      n   For each of the One-year MTA indexed Mortgage Loans, the related borrower must make a minimum monthly payment
                          which is subject to adjustment on a date specified in the mortgage note and annually on the same date thereafter,
                          subject generally to the conditions that (i) the amount of the minimum monthly payment will not increase or decrease
                          by an amount that is more than 7.50% of the last minimum monthly payment, (ii) as of the fifth anniversary of the first
                          due date and on the same day every five years thereafter as well as the final payment adjustment date, the minimum
                          monthly payment will be recast, without regard to the limitation in clause (i) above, in order to amortize fully the then
                          unpaid mortgage loan principal balance over the remaining term to maturity, and (iii) if the unpaid mortgage loan
                          principal balance exceeds 110% or 125% of the original principal balance due to Deferred Interest (the “Negative
                          Amortization Limit”), the minimum monthly payment will be recast, without regard to the limitation in clause (i), in order
                          to amortize fully the then unpaid principal balance over the remaining term to maturity.

                      n   On each payment date after the initial fixed rate period, if any, the servicer will present to each borrower three payment
                          options in addition to the minimum monthly payment described above. Those payment options will include (i) interest
                          only, (ii) an amount that will fully amortize the mortgage loan over the remaining term of the mortgage loan at the
                          current rate, and (iii) an amount that will fully amortize the mortgage loan over a period of 15 years from the first
                          payment date at the current mortgage rate. Those payment options will only be available to the borrower if they are
                          higher than the minimum monthly payment described above.

                      n   Negative amortization on the One-year MTA Mortgage Loans will occur when the monthly payment made by the
                          borrower is less than interest accrued at the current mortgage rate on the unpaid principal balance of the Mortgage
                          Loan (such deficiency, “Deferred Interest”). The amount of Deferred Interest is added to the unpaid principal balance
                          of the Mortgage Loan.

                      n   As of the Cut-off Date, the aggregate principal balance of the Mortgage Loans is expected to be $1,675,000,000, subject
                          to a 10% variance. Approximately 24.36% of the Mortgage Loans do not have a prepayment penalty period.
                          Approximately 26.66% of the Mortgage Loans have a prepayment penalty period of 1 year, approximately 11.28% of the
                          Mortgage Loans have a prepayment penalty period of 2 years and approximately 37.70% of the Mortgage Loans have a
                          prepayment penalty period of 3 years. The Group I Mortgage Loans will consist of Mortgage Loans with prepayment
                          penalty periods of less than 3 years, the Group II Mortgage Loans will consist of Mortgage Loans with prepayment
                          penalty periods of 3 years and the Group III Mortgage Loans will consist of Mortgage Loans with no prepayment
                          penalties.

Credit Enhancement:   n   Credit Enhancement for the Offered Certificates will consist of the following:
                          1)      Excess Interest,
                          2)      Overcollateralization (“OC”); and
                          3)      Subordination
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                                                            Transaction Overview (Cont.)

Cashflow Description:       n       Distributions on the Senior Certificates and the Subordinate Certificates will be made on the 25th day of each month (or
                                    next business day). The payments to the Senior Certificates and the Subordinate Certificates, to the extent of available
                                    funds from the related Mortgage Loans and, in the case of the Class III-A-1-1 Certificates, net swap payments, if any,
                                    from the Class III-A-1-1 Swap Agreement, as applicable, will be made according to the following priority:


                        Group I Available Funds

                                    1.      To pay interest, pro rata, to the Class I-A-1, Class I-A-2-1, Class I-A-2-2 and Class I-A-3 Certificates, based on (i)
                                        the certificate principal balance of each such class and (ii) the respective Pass-Through Rate of each such class
                                        including any accrued unpaid interest due from any prior Distribution Date as reduced by certain interest shortfalls
                                        and any Net Deferred Interest allocable to each such class;
                                    2.       To pay interest, sequentially, to the Subordinate Certificates, based on (i) the related Group I Portion of the
                                        certificate principal balance of each such class and (ii) the respective Pass-Through Rate of each such class as
                                        reduced by certain interest shortfalls and any Net Deferred Interest allocable to each such class;
                                    3.      (A) For each Distribution Date prior to the Stepdown Date or on which a Trigger Event is in effect in an amount
                                        up to the Group I Principal Distribution Amount for such Distribution Date, sequentially:
                                                                           i.     concurrently, to the Class I-A-1, Class I-A-2-1, Class I-A-2-2 and Class I-A-3
                                                                               Certificates, pro rata on the basis of their respective certificate principal balance
                                                                               of each such class
                                                                           ii.     sequentially, to the Subordinate Certificates, until reduced to zero.
                                    (A)       For each Distribution Date on or after the Stepdown Date and so long as there is no Trigger Event in effect,
                                sequentially:
                                                                           i.       I n an amount up to the related Senior Principal Distribution Amount,
                                                                               concurrently, to the Class I-A-1, Class I-A-2-1, Class I-A-2-2 and Class I-A-3
                                                                               Certificates, pro rata on the basis of their respective certificate principal balance
                                                                               of each such class.
                                                                           ii.     Sequentially, to the Subordinate Certificates, in each case each class shall
                                                                               receive such class’ allocable share of the related Subordinated Principal
                                                                               Distribution Amount, until reduced to zero;
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                                                                Transaction Overview (Cont.)

Cashflow Description:   Group II Available Funds

                                    1. To pay interest, pro rata, to the Class II-A-1-1, Class II-A-1-2, Class II-A-2, Class II-A-3-1 and Class II-A-3-2 Certificates,
                                         based on (i) the certificate principal balance of each such class and (ii) the respective Pass-Through Rate of each such
                                         class including any accrued unpaid interest due from any prior Distribution Date as reduced by certain interest
                                         shortfalls and any Net Deferred Interest allocable to each such class;
                                    2. To pay interest, sequentially, to the Subordinate Certificates, based on (i) the related Group II Portion of the certificate
                                         principal balance of each such class and (ii) the respective Pass-Through Rate of each such class as reduced by certain
                                         interest shortfalls and any Net Deferred Interest allocable to each such class;
                                    3. (A) For each Distribution Date prior to the Stepdown Date or on which a Trigger Event is in effect in an amount up to
                                         the Group II Principal Distribution Amount for such Distribution Date, sequentially:
                                                                              i. concurrently, to the Class II-A-1-1, Class II-A-1-2, Class II-A-2, Class II-A-3-1 and
                                                                                  Class II-A-3-2 Certificates, pro rata on the basis of their respective certificate
                                                                                 principal balance of each such class.
                                                                              ii. sequentially, to the Subordinate Certificates, until reduced to zero.
                                          (B) For each Distribution Date on or after the Stepdown Date and so long as there is no Trigger Event in effect,
                              sequentially:
                                                                           i. In an amount up to the related Senior Principal Distribution Amount, concurrently, to
                                                                              the Class II-A-1-1, Class II-A-1-2, Class II-A-2, Clas s II-A-3-1 and Class II-A-3-2
                                                                              Certificates, pro rata on the basis of their respective certificate principal balance of
                                                                              each such class.
                                                                           ii. Sequentially, to the Subordinate Certificates, in each case each class shall receive
                                                                              such class’ allocable share of the related Subordinated Principal Distribution Amount,
                                                                              until reduced to zero.

                        Group III Available Funds

                                     1.  From amounts otherwise allocable to the Class III-A-1-1 Certificates pursuant to priorities 2 and 4 below and provided
                                        that, for this purpose, the Pass-Through Rate on the Class III-A-1-1 Certificates shall be deemed to equal the lesser of
                                        (1) One-Month LIBOR plus [ ]% if on or prior to the optional termination date or One-Month LIBOR plus [ ]% after the
                                        optional termination date and (2) the Group III Net WAC Cap Rate for the related Interest Accrual Period, to the Class
                                        III-A-1-1 Swap Account, the amount of any Net Swap Payment or Swap Termination Payment due to the Swap
                                        Counterparty (other than a Swap Termination payment due to a Swap Counterparty Trigger Event) under the Class III-
                                        A-1-1 Swap Agreement;
                                     2 . To pay interest, pro rata, to the Class III-A-1-1, Class III-A-1-2, Class III-A-2, Class III-A-3-1 and Class III-A-3-2
                                        Certificates, based on (i) the certificate principal balance of each such class and (ii) the respective Pass-Through Rate of
                                        each such class including any accrued unpaid interest due from any prior Distribution Date as reduced by certain
                                        interest shortfalls and any Net Deferred Interest allocable to each such class (other than the Class III-A-1-1 Certificates).
                                     3. To pay interest, sequentially, to the Subordinate Certificates, in an amount equal to the product of (i) the related Group
                                        III Portion of the certificate principal balance of each such class and (ii) the respective Pass-Through Rate of each such
                                        class as reduced by certain interest shortfalls and any Net Deferred Interest allocable to each such class;
                                     4. (A) For each Distribution Date prior to the Stepdown Date or on which a Trigger Event is in effect in an amount up to
                                        the Group III Principal Distribution Amount for such Distribution Date, sequentially:
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                                                               Transaction Overview (Cont.)

Cashflow Description   Group III Available Funds (continued)
(continued):
                                                                             i.         concurrently, to the Swap Provider any Class III-A-1-1 Deferred Interest
                                                                                     Amount and to the Class III-A-1-1*, Class III-A-1-2, Class III-A-2, Class III-
                                                                                     A-3-1 and Class III-A-3-2 Certificates, pro rata on the basis of the respective
                                                                                     certificate principal balance of each such class, immediately prior t o such
                                                                                     Distribution Date, until reduced to zero, provided however that any amounts
                                                                                     payable to the Class III-A-3-1 Certificates and the Class III-A-3-2 Certificates
                                                                                     (together, the "Class III-A-3 Certificates") being paid sequentially, first to the
                                                                                     Class III-A-3-1 Certificates and second to the Class III-A-3-2 Certificates, in
                                                                                     each case until its respective certificate principal balance is reduced to zero;
                                                                             ii.       sequentially, to the Subordinate Certificates, until reduced to zero.

                                        (B) For each Distribution Date on or after the Stepdown Date and so long a s there is no Trigger Event in effect,
                                            sequentially:
                                                                            i .         In an amount up to the related Senior Principal Distribution Amount,
                                                                                   concurrently, to the Swap Provider, any Class III-A-1-1 Deferred Interest
                                                                                   Amount and to the Class III-A-1-1*, Class III-A-1-2, Class III-A-2, Class III-
                                                                                   A-3-1 and Class III-A-3-2 Certificates, pro rata on the basis of their
                                                                                   respective certificate principal balance of each such class, immediately prior
                                                                                   to such Distribution Date, until reduced to zero, provided however that any
                                                                                   amounts payable to the Class III-A-3-1 Certificates and the Class III-A-3-2
                                                                                   Certificates (together, the "Class III-A-3 Certificates") b e i n g paid
                                                                                   sequentially, first to the Class III-A-3-1 Certificates and second to the Class
                                                                                   III-A-3-2 Certificates, in each case until its respective certificate principal
                                                                                   balance is reduced to zero;
                                                                            ii.       Sequentially, to the Subordinate Certificates, in each case each class shall
                                                                                   receive such class’ allocable share of the related Subordinated Principal
                                                                                   Distribution Amount, until reduced to zero;
                           * : Amounts otherwise allocable to the Class III-A-1-1 Certificates, will be distributed to the Swap Account, and will be used to pay
                           the Swap Counterparty in the amount of any Swap Termination Payment due to the Swap Counterparty due to a Swap
                           Counterparty Trigger Event under the Class III-A-1-1 Swap Agreement.

                       Remaining Available Funds from All Loan Groups

                                    1.       From the remaining Group I, Group II and Group III Available Funds, if any, to pay the Allocated Realized Loss
                                          Amounts on the Senior and Subordinate Certificates, on a sequential basis.
                                    2.       From the remaining Group I, Group II and Group III Available Funds, if any, to the Certificates then entitled to
                                          receive distributions in respect of principal in order to reduce the Certificate Principal Balance of the Certificates to the
                                          extent necessary to maintain the Required Overcollateralization Amount.
                                    3.       From the remaining Group I, Group II and Group III Available Funds, if any, to pay the Interest Carry Forward
                                          Amounts on the Subordinate Certificates, on a sequential basis.
                                    4.        From the remaining Group I, Group II and Group III Available Funds, if any, to pay the Basis Risk Carryover
                                          Shortfall Amounts on the Offered Certificates, (but only in the event of a Swap Default with respect to the Class III-A-
                                          1-1 Certificates) in the same priority as described above.
                                    5.      To pay any remaining amount to the Class C and Class R Certificates.
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                                                          Transaction Overview (Cont.)

Negative Amortization:   n   Since the Mortgage Loans are subject to negative amortization, the Senior Certificates (other than the Class III-A-1-1
                             Certificates) and the Subordinate Certificates are subject to increases in their principal balances. However, the amount of
                             negative amortization that occurs in each interest accrual period with respect to each mortgage loan will be offset by principal
                             collections for such period. For any Loan Group, any negative amortization in excess of principal collections for each such
                             Loan Group (“Net Deferred Interest”) shall be allocated among the Senior Certificates related to such Loan Group and the
                             Subordinate Certificates based, in the case of the Senior Certificates, on the amount of interest accrued on such Class for the
                             related Interest Accrual Period computed for this purpose in the case of the Class III-A-1-1 Certificates as though the Pass-
                             Through Rate were subject to a cap based on the Group III Net WAC Cap Rate as long as the Class III-A-1-1 Swap Agreement
                             remains in effect, and in the case of a Class of Subordinate Certificates, based on the interest accrued on the applicable portion
                             of such Class for the related Interest Accrual Period. As long as a Swap Default pursuant to the Class III-A-1-1 Swap
                             Agreement has not occurred and is not continuing, Net Deferred Interest allocated to the Class III-A-1-1 Certificates, as
                             applicable, will not be added to the certificate principal balance thereof. Pursuant to the Swap Agreement, the Swap Provider is
                             required to make an interest payment in respect of such amount for payment to the Class III-A-1-1 Certificates.

Class III-A-1-1 Swap     n   On the Closing Date, the Class III-A-1-1 Certificates will have the benefit of a swap agreement (the “Class III-A-1-1 Swap
Agreement:                   Agreement”). Payments under the Class III-A-1-1 Swap Agreement are required to be made so that the Class III-A-1-1
                             Certificates will receive interest payments at a pass-through rate equal to One-Month LIBOR plus the related margin, less
                             interest shortfalls allocated to such certificates. In addition the Class III-A-1-1 Swap Agreement will pay an amount equal to
                             any Net Deferred Interest allocated to the Class III-A-1-1 Certificates on each Distribution Date.
                         n   The Class III-A-1-1 Swap Agreement will have an initial notional amount of $[114,935,000]. On a Distribution Date while the
                             Class III-A-1-1 Certificates remain outstanding, the Trustee acting on behalf of a separate trust fund (the “Grantor Trust”) will
                             be obligated to pay to the Swap Provider an amount equal to the excess, if any of (A) the product of (a) the lesser of (1) the
                             sum of (x) One-Month LIBOR plus [ ]% if on or prior to the optional termination date or One-Month LIBOR plus [ ]% after the
                             optional termination date and (y) a per annum rate, not to exceed [0.06]% on or prior to the optional termination date or [0.12]%
                             after the optional termination date (the “Swap Fee Rate”) and (2) the Group III Net WAC Cap Rate for the related Interest
                             Accrual Period, (b) a notional amount equal to the lesser of (1) the Certificate Principal Balance of the Class III-A-1-1
                             Certificates immediately prior to the related Distribution Date and (2) the aggregate principal balance of the Group III Mortgage
                             Loans as of the first day of the related due period and (c) the actual number of days in the related interest accrual period/360
                             over (B) any Net Deferred Interest allocated to the Class III-A-1-1 Certificates on such Distribution Date, and the Swap
                             Provider will be obligated to pay to the Grantor Trust, for the benefit of the holders of the Class III-A-1-1 Certificates, an
                             amount equal to the product of (x) One-Month LIBOR plus [ ]% if on or prior to the optional termination date or One-Month
                             LIBOR plus [ ]% after the optional termination date and (y) a notional amount equal to the lesser of (I) the Certificate Principal
                             Balance of the Class III-A-1-1 Certificates immediately prior to the related Distribution Date and (II) the aggregate principal
                             balance of the Group III Mortgage Loans as of the first day of the related due period, and (z) the actual number of days in the
                             related interest accrual period/360. Only the net amount of the two obligations will be paid by the appropriate party (the “Class
                             III-A-1-1 Net Swap Payment”).
                         n   If any payment by the Grantor Trust to the Swap Provider has been reduced under clause (B) as a result of any Net Deferred
                             Interest allocated to the Class III-A-1-1 Certificates, then the Grantor Trust shall pay to the Swap Provider on future
                             Distribution Dates any amounts received by the Grantor Trust in respect of such Net Deferred Interest (including amounts
                             received by the Grantor Trust in respect of interest on such Net Deferred Interest at a rate equal to the sum of (x) One-Month
                             LIBOR plus [ ]% on or prior to the optional termination date or One-Month LIBOR plus [ ]% after the optional termination date
                             and (y) the Swap Fee Rate).
                         n   The Grantor Trust shall pay to the Swap Provider any Basis Risk Shortfall Carry Forward Amount received by the Grantor
                             Trust.
                         n   Any amounts in the Grantor Trust from the Swap Provider attributable to a Class III-A-1-1 Net Swap Payment will be used to
                             make interest payments on the Class III-A-1-1 Certificates.
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                                                                    Transaction Overview (Cont.)



The Cap Agreement:                 n      The LIBOR Certificates will have the benefit of an interest rate cap contract. Such interest rate cap contract is intended to
                                          partially mitigate the interest rate risk that could result from the difference in (i) the Pass Through Rate for each such
                                          Certificate based on One Month LIBOR plus the related margin (without regard to the applicable Net WAC Cap Rate) and
                                          (ii) the applicable Net WAC Cap Rate. With respect to each applicable Distribution Date the amount payable by the Cap
                                          Provider will equal the product of (i) the excess (if any) of (x) the lesser of (a) One-Month LIBOR (as determined pursuant
                                          to the Cap Agreement) and (b) the Cap Ceiling over (y) the Cap Strike Rate, (ii) the lesser of (x) the Cap Agreement Notional
                                          Balance (described below) for such Distribution Date and (y) the aggregate certificate principal balance of the LIBOR
                                          Certificates immediately prior to such Distribution Date, (iii) a fraction, the numerator of which is the actual number of days
                                          in the related interest accrual period and the denominator of which is 360.
                                   n      A separate trust created under the pooling and servicing agreement (the “Supplemental Interest Trust”) will hold the Cap
                                          Agreement. The Cap Agreement and any payments made by the Cap Provider thereunder will be assets of the
                                          Supplemental Interest Trust but will not be assets of any REMIC.
                                   n      On each Distribution Date, the Trust Administrator will distribute to the Certificates and Class CE Certificates all amounts
                                          received under the Cap Agreement as follows:
                                                (i) to the Group I Senior Certificates and the Group III Senior Certificates, pro rata, any remaining Allocated Realized
                                                Loss Amounts and then to the Subordinate Certificates, sequentially, any remaining Allocated Realized Loss Amounts
                                                but only to the extent of remaining Allocated Realized Loss Amounts relating to the Group I Mortgage Loans and
                                                Group III Mortgage Loans after the application of excess spread.
                                                (ii) to the LIBOR Certificates, pro rata, based on the remaining Basis Risk Shortfalls and then to the Subordinate
                                                Certificates, sequentially, to the Class B-1, Class B-2, Class B-3, Class B-4, Class B-5, Class B-6, Class B-7 and Class B-
                                                8 Certificates an amount equal to any unpaid remaining Basis Risk Shortfalls to the extent not covered by excess
                                                spread.
                                                (iii) to the Group I Senior Certificates and the Group III Senior Certificates, any unpaid interest, pro rata, including any
                                                accrued unpaid interest from a prior Distribution Date;
                                                (iv) to the Subordinate Certificates, sequentially, any unpaid interest, including any accrued unpaid interest from prior
                                                Distribution Dates to the extent not covered by excess spread;
                                                (v) to the Senior Certificates and the Subordinate Certificates, any principal in accordance with the principal payment
                                                provisions described above under “Principal Distribution” in an amount necessary to maintain the applicable
                                                Overcollateralization Target Amount to the extent not covered by excess spread;

Overcollateralization Target       With respect to any Distribution Date (a) prior to the Stepdown Date, an amount equal to [0.50]% of the aggregate Stated
Amount:                            Principal Balance of the Mortgage Loans as of the cut-off date and (b) on or after the Stepdown Date, the greater of (i) (x) for any
                                   Distribution Date on or after the Stepdown Date but prior to the Distribution Date in August 2012 an amount equal to [1.25]% of
                                   the aggregate Stated Principal Balance of the Mortgage Loans as of the Due Date in the month of that Distribution Date (after
                                   giving effect to unscheduled principal collections received in the related Prepayment Period) and (y) for any Distribution Date on
                                   or after the Stepdown Date and on or after the Distribution Date in August 2012 an amount equal to [1.00]% of the aggregate
                                   Stated Principal Balance of the Mortgage Loans as of the Due Date in the month of that Distribution Date (after giving effect to
                                   unscheduled principal collections received in the related Prepayment Period) and (ii) the OC Floor; provided, however, that if a
                                   Trigger Event is in effect on any Distribution Date, the Overcollateralization Target Amount will be the Overcollateralization
                                   Target Amount as in effect for the prior Distribution Date.

OC Floor:                      An amount equal to 0.50% of the aggregate Stated Principal Balance of the Mortgage Loans as of the cut-off date.

Stepdown Date:                 The earlier of (i) the first Distribution Date on which the aggregate Certificate Principal Balance of the Class A Certificates has been
                               reduced to zero and (ii) the later to occur of (x) the Distribution Date occurring in August 2009 and (y) the first Distribution Date on
                               which the Credit Enhancement Percentage (calculated for this purpose only after taking into account distributions of principal on the
                               Mortgage Loans, but prior to any distribution of principal to the holders of the Certificates) is equal to or greater than approximately
                               (a) on any Distribution Date prior to the Distribution Date in August 2012, [16.50]% and (b) on any Distribution Date on or after the
                               Distribution Date in August 2012, [13.20]%.


                                                                    Transaction Overview (Cont.)



Credit Enhancement Percentage: The Credit Enhancement Percentage for any class and any Distribution Date is the percentage obtained by dividing (x) the
                               aggregate Certificate Principal Balance of the class or classes subordinate thereto (which includes the Overcollateralization
                               Amount) by (y) the aggregate principal balance of the Mortgage Loans, calculated after giving effect to scheduled payments of
                               principal due during the related Due Period, to the extent received or advanced, and unscheduled collections of principal received
                               during the related Prepayment Period and distribution of the Principal Distribution Amount to the holders of the Certificates then
                               entitled to distributions of principal on the Distribution Date.
                                                                Credit Enhancement and Stepdown Target Subordination Percentage
             Class                        (M / S)                  Initial CE %         CE % On/After Step Down Date and Prior to CE % On/After Distribution
                                                                                             Distribution Date in August 2012         Date in August 2012

               A                         [Aaa/AAA]                      6.600%                                16.500%                                  13.200%
              M-1                         [Aa1/AA+]                     4.050%                                10.125%                                   8.100%
              M-2                          [Aa2/AA]                     3.350%                                 8.375%                                   6.700%
              M-3                          [Aa3/AA]                     2.900%                                 7.250%                                   5.800%
              M-4                           [A1/AA]                     2.450%                                 6.125%                                   4.900%
              M-5                           [A2/A+]                     1.950%                                 4.875%                                   3.900%
              M-6                           [Baa1/A]                    1.400%                                 3.500%                                   2.800%
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              M-7                     [Baa3/BBB+]                  0.850%                               2.125%                                  1.700%
              M-8                        [Baa3]                    0.500%                               1.250%                                  1.000%

Delinquency Trigger Event:      n       With respect to a Distribution Date on or after the Stepdown Date if the Rolling Sixty Day Delinquency Rate for the
                                       outstanding Mortgage Loans equals or exceeds the product of [40.0]% and the applicable Credit Enhancement Percentage,
                                       then a Delinquency Trigger Event exists.
Cumulative Loss Trigger         n      With respect to any Distribution Date on or after the Stepdown Date if the aggregate amount of Realized Losses on the
Event:                                 Mortgage Loans from (and including) the Cut-off Date to (and including) the related due date (reduced by the aggregate
                                       amount of subsequent recoveries received from the Cut-off Date through the prepayment period related to that due date)
                                       exceeds the applicable percentage, for such Distribution Date, of the aggregate Stated Principal Balance of the Mortgage
                                       Loans, as set forth below, then a Cumulative Loss Trigger Event will exist:
                                Distribution Date Occurring in                                                              Percentage
                                August 2008 to July 2009                                         [0.20]%, plus 1/12th of [0.30]% for each month thereafter
                                August 2009 to July 2010                                         [0.50]%, plus 1/12th of [0.35]% for each month thereafter
                                August 2010 to July 2011                                         [0.85]%, plus 1/12th of [0.40]% for each month thereafter
                                August 2011 to July 2012                                         [1.25]%, plus 1/12th of [0.25]% for each month thereafter
                                August 2012 and thereafter                                       [1.50]%

Senior Principal Distribution   n      For any Distribution Date and Loan Group will equal the excess of: (1) the aggregate Certificate Principal Balance of the
Amount:                               related senior certificates immediately prior to such Distribution Date (plus, in the case of Group III, the Class III-A-1-1
                                      Deferred Interest Amount), over (2) the lesser of (A) the product of (i) (x) [83.50]% on any Distribution Date on or after the
                                      Stepdown Date and prior to the Distribution Date in August 2012 or (y) [86.80]% on any Distribution date on or after the
                                      Stepdown Date and on or after the Distribution Date in August 2012 and (ii) the aggregate Stated Principal Balance of the
                                      related Mortgage Loans as of the Due Date in the month of that Distribution Date (after giving effect to unscheduled
                                      principal collections received in the related Prepayment Period) and (B) the aggregate Stated Principal Balance of the
                                      related Mortgage Loans as of the Due Date in the month of that Distribution Date (after giving effect to unscheduled
                                      principal collections received in the related Prepayment Period) minus the OC Floor.
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                                                          Transaction Overview (Cont.)

Subordinated Principal           n   For any class of subordinated certificates, any Distribution Date and Loan Group will equal the excess of: (1) the sum
Distribution Amount:                 of: (a) the aggregate Certificate Principal Balance of the related senior certificates (plus, in the case of Group III, the
                                     Class III-A-1-1 Deferred Interest Amount) (after taking into account the distribution of the related Senior Principal
                                     Distribution Amount for such Distribution Date), (b) the related aggregate Certificate Principal Balance of any
                                     class(es) of subordinated certificates that are senior to the subject class (in each case, after taking into account the
                                     distribution of the applicable Subordinated Principal Distribution Amount(s) for such more senior class(es) of
                                     certificates for such Distribution Date), and (c) the related Certificate Principal Balance of such class of subordinated
                                     certificates immediately prior to the subject Distribution Date, over (2) the lesser of (a) the product of (x) 100% minus
                                     the applicable Stepdown Target Subordination Percentage for the subject class of Certificates for that Distribution
                                     Date and (y) the aggregate Stated Principal Balance of the related Mortgage Loans as of the Due Date in the month of
                                     that Distribution Date (after giving effect to unscheduled principal collections received in the related Prepayment
                                     Period) and (b) the aggregate Stated Principal Balance of the related Mortgage Loans as of the Due Date in the month
                                     of that Distribution Date (after giving effect to unscheduled principal collections received in the related Prepayment
                                     Period) minus the OC Floor; provided, however, that if such class of subordinated certificates is the only class of
                                     subordinated certificates outstanding on such Distribution Date, that class will be entitled to receive the entire
                                     remaining related Principal Distribution Amount until its Certificate Principal Balance is reduced to zero.
Basis Risk Carryover Shortfall   n   The Offered Certificates (including, in the event of Swap Termination, the Class III-A-1-1 Certificates) and
Amounts:                             Subordinate Certificates will be entitled to the payment of an amount equal to the sum of (i) the excess, if any, of (a)
                                     interest accrued at the Pass-Through Rate for such Class (without giving effect to the related Net WAC Cap Rate)
                                     over (b) the amount of interest actually accrued on such Class based on the related Net WAC Cap Rate and (ii) the
                                     unpaid portion of any such excess from previous Distribution Dates (and any interest thereon at the Pass-Through
                                     Rate for such Class without giving effect to the related Net WAC Cap Rate) (together, the “Basis Risk Carryover
                                     Shortfall Amounts”).
Optional Termination:            n   The terms of the transaction allow for an option to terminate the Trust, which may be exercised by the Servicer once
                                     the aggregate principal balance of the Mortgage Loans is 1% or less of the aggregate principal balance of the
                                     Mortgage Loans as of the Cut-off Date.
                                 n   To the extent not covered by excess interest or overcollateralization, Realized Losses on the Mortgage Loans will be
Allocation of Losses:                allocated to the most junior class of Certificates outstanding beginning with the Class M-6 Certificates, until the
                                     Certificate Principal Balance of the Subordinate Certificates has been reduced to zero.
                                 n   Thereafter, Realized Losses on the Group I Mortgage Loans will be allocated first, to the Class I-A-3 Certificates until
                                     reduced to zero, and second, pro-rata to the Class I-A-2-1 and Class I-A-2-2 Certificates until reduced to zero. Realized
                                     Losses on the Group II Mortgage Loans will be allocated first, pro-rata, to the Class II-A-3-1 and Class II-A-3-2
                                     Certificates until reduced to zero, and second, to the Class II-A-2 Certificates until reduced to zero. Realized Losses
                                     on the Group III Mortgage Loans will be allocated first, pro-rata, to the Class III-A-3-1 and Class III-A-3-2 Certificates
                                     until reduced to zero, and second, to the Class III-A-2 Certificates until reduced to zero.
                                 n   There will be no allocation of Realized Losses to the Class I-A-1 Certificates, Class II-A-1-1 Certificates, Class II-A-1-2
                                     Certificates, the Class III-A-1-1 Certificates and Class III-A-1-2 Certificates. Investors in such Certificates should note,
                                     however, that although Realized Losses cannot be allocated to such Certificates, under certain loss scenarios there
                                     may not be enough principal and interest on the Mortgage Loans to distribute to the holders of the Class I-A-1
                                     Certificates, Class II-A-1-1 Certificates, the Class II-A-1-2 Certificates, the Class III-A-1-1 Certificates and Class III-A-
                                     1-2 Certificates all principal and interest amounts to which they are then entitled.
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                                                     Preliminary LIBOR Cap Schedule
 Date         Cap Notional ($)       Cap Strike (% )     Cap Ceiling (% )     Date         Cap Notional ($)     Cap Strike (% )   Cap Ceiling (% )
  8/25/2006                      -                    0                0      10/25/2009         611,918,750.67            7.6204              9.075
  9/25/2006                      -                    0                0      11/25/2009         592,256,854.75            7.6012              9.075
 10/25/2006                      -                    0                0      12/25/2009         573,208,785.44            7.5403              9.075
 11/25/2006                      -                    0                0       1/25/2010         554,755,053.37            7.5735              9.075
 12/25/2006                      -                    0                0       2/25/2010         536,292,747.31            7.5524              9.075
  1/25/2007                      -                    0                0       3/25/2010         518,425,298.93            7.3608              9.075
  2/25/2007                      -                    0                0       4/25/2010         500,576,106.56            7.4966              9.075
  3/25/2007                      -                    0                0       5/25/2010         483,065,950.91            7.4089              9.075
  4/25/2007                      -                    0                0       6/25/2010         466,145,093.72            7.3693              9.075
  5/25/2007                      -                    0                0       7/25/2010         449,793,739.68            7.3101              9.075
  6/25/2007                      -                    0                0       8/25/2010         433,967,159.82            7.2491              9.075
  7/25/2007                      -                    0                0       9/25/2010         418,382,931.84            7.1852              9.075
  8/25/2007                      -                    0                0      10/25/2010         403,325,561.25            7.1188              9.075
  9/25/2007                      -                    0                0      11/25/2010         388,543,840.32            7.0502              9.075
 10/25/2007                      -                    0                0      12/25/2010         374,071,621.23            6.9783              9.075
 11/25/2007                      -                    0                0       1/25/2011         360,107,105.33            6.9038              9.075
 12/25/2007                      -                    0                0       2/25/2011         346,632,663.64            6.8255              9.075
  1/25/2008                      -                    0                0       3/25/2011         333,631,218.46            6.7439              9.075
  2/25/2008                      -                    0                0       4/25/2011         321,094,846.51            6.6602              9.075
  3/25/2008                      -                    0                0       5/25/2011         309,007,350.73            6.5712              9.075
  4/25/2008                      -                    0                0       6/25/2011         297,352,461.30            6.4786              9.075
  5/25/2008                      -                    0                0       7/25/2011         286,114,526.99            6.4227              9.075
  6/25/2008                      -                    0                0       8/25/2011         275,278,993.21            6.4168              9.075
  7/25/2008                      -                    0                0       9/25/2011         264,561,100.99            6.4097              9.075
  8/25/2008         958,642,550.25               8.8488            9.075      10/25/2011         254,218,459.81            6.4018              9.075
  9/25/2008         928,661,676.87               8.7761            9.075      11/25/2011         244,237,971.79            6.3935              9.075
 10/25/2008         899,556,867.96               8.7012            9.075      12/25/2011         234,606,995.54            6.3840              9.075
 11/25/2008         871,204,230.31               8.6234            9.075       1/25/2012         225,313,330.19            6.3740              9.075
 12/25/2008         843,760,348.90               8.5425            9.075       2/25/2012         216,345,200.12            6.3629              9.075
  1/25/2009         817,186,547.23               8.4585            9.075       3/25/2012         207,691,240.14            6.3508              9.075
  2/25/2009         791,448,166.50               8.3713            9.075       4/25/2012         199,312,750.15            6.3385              9.075
  3/25/2009         766,514,009.76               8.2808            9.075       5/25/2012         191,200,131.50            6.3247              9.075
  4/25/2009         742,367,187.62               8.1868            9.075       6/25/2012         183,344,120.45            6.3151              9.075
  5/25/2009         718,982,719.83               8.0894            9.075       7/25/2012         175,735,776.55            6.2999              9.075
  6/25/2009         696,336,334.04               7.9884            9.075       8/25/2012                      0                 0                  0
  7/25/2009         674,404,701.42               7.8849            9.075
  8/25/2009         653,165,237.89               7.6178            9.075
  9/25/2009         632,214,609.30               7.6228            9.075

    * Subject to change based on information to be received prior to the Closing Date.
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**Collateral statistics are based on preliminary pool characteristics and will be subject to further revision**


                                                          DESCRIPTION OF THE TOTAL COLLATERAL

                                                                 SUMMARY - AGGREGATE POOL
                                                                                                                                          W.A. Remaining
Number of Mortgage Loans:                                                                                                           3,545 Term (Months):         427
Aggregate Principal Balance:                                                                                                                     Range          355 -
                                                                                                                      $1,377,082,493.55(Months):                 480
Average Principal Balance:                                                                                                                W.A. Seasoning
                                                                                                                            $388,457.69 (Months):                   0
         Range:                                                                                                                                  Range
                                                                                                              $38,400.00 - $4,500,000.00(Months):                0-5
Original W.A. Coupon:                                                                                                            1.374%
         Range:                                                                                                                           California
                                                                                                                       1.000% - 8.140% Concentration:        40.20%
Gross W.A. Coupon:                                                                                                               7.175% W.A. Original LTV: 76.34%
       Range:                                                                                                                                    Range:     19.38% -
                                                                                                                       1.000% - 9.192%                      100.00%
Net W.A. Coupon:                                                                                                                          Percentage LTV >
                                                                                                                                 6.455% 80% & no MI:          0.00%
Gross Margin:                                                                                                                             W.A. Months to            1
                                                                                                                                 3.216% Roll:
         Range:                                                                                                                                  Range
                                                                                                                       2.020% - 4.760%(Months):                1 - 12
Net Margin:                                                                                                                               Documentation
                                                                                                                                 2.496% Status:
W.A. Gross Max Rate:                                                                                                            10.102%          Full:       18.38%
        Range:                                                                                                                  7.500% -         Other:
                                                                                                                                12.950%                      81.62%
W.A. Net Max Rate:                                                                                                               9.382% Interest Only Loans: 1.05%
                                                                                                                                          Non-Zero W.A.          712
                                                                                                                                          FICO Score:
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                                              DESCRIPTION OF THE TOTAL COLLATERAL



                                                         Amortization Type
                                                                % of Pool Weighted Weighted             Weighted Weighted
                                                                    by      Average Average Weighted Average Average
                                   Number                       Principal    Gross    Gross    Average Original Combined          % Full
            Amortization Type      of Loans Principal Balance Balance Coupon          Margin    FICO     LTV      LTV             Alt Doc
Interest Only                              34     14,498,285.00        1.05     6.839    3.258      691     78.29    81.13            54.89
Negative Amortizing                     3,511  1,362,584,208.55      98.95      7.179    3.215      712     76.31    76.67            17.99
Total:                                 3,545 1,377,082,493.55      100.00      7.175    3.216       712    76.34    76.72            18.38



                                             Prepayment Penalty Type of the Mortgage Loans
                                                                  % of Pool Weighted Weighted                Weighted Weighted
                                                                      by      Average Average Weighted Average Average
                                   Number                         Principal    Gross       Gross    Average Original Combined     % Full
         Prepayment Penalty Type   of Loans Principal Balance Balance Coupon             Margin      FICO     LTV      LTV        Alt Doc
No Prepay                                 774      335,416,513.83      24.36       7.065      2.882      716     76.24    76.80       18.50
12 mo - HARD                              854      367,095,664.77      26.66       7.042      3.001      717     75.53    75.97       18.77
24 mo - HARD                              400      155,350,353.06      11.28       7.123      3.042      711     76.10    76.50       24.58
36 mo - HARD                            1,517      519,219,961.89      37.70       7.355      3.635      706     77.04    77.27       16.17
Total:                                 3,545 1,377,082,493.55        100.00       7.175      3.216       712    76.34    76.72       18.38


                                               Loan Servicers of the Mortgage Loans
                                                               % of Pool Weighted Weighted          Weighted Weighted
                                                                   by      Average Average Weighted Average Average
                                    Number                     Principal    Gross    Gross Average Original Combined              % Full
              Loan Servicers       of Loans Principal Balance Balance Coupon        Margin  FICO     LTV      LTV                 Alt Doc
AHM                                   3,545      1,377,082,493.55   100.00    7.175      3.216       712       76.34      76.72      18.38
Total:                                3,545    1,377,082,493.55     100.00    7.175      3.216       712      76.34      76.72       18.38
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                                                  DESCRIPTION OF THE TOTAL COLLATERAL



                                             Current Principal Balance of the Mortgage Loans
                                                                   % of Pool Weighted Weighted               Weighted Weighted
                                                                       by       Average Average Weighted Average Average
                                     Number                        Principal     Gross     Gross    Average Original Combined       % Full
         Current Principal Balance   of Loans Principal Balance Balance Coupon             Margin    FICO     LTV      LTV          Alt Doc
$50,000.00 or less                          12          535,225.00        0.04      7.859     3.427      726     79.54    79.54         65.51
$50,000.01 - $100,000.00                   100        8,141,607.12        0.59      7.359     3.387      715     71.74    71.74         49.92
$100,000.01 - $150,000.00                  237       30,420,770.70        2.21      7.261     3.329      716     74.80    74.89         39.49
$150,000.01 - $200,000.00                  410       73,600,943.36        5.34      7.279     3.279      714     76.51    76.69         28.27
$200,000.01 - $250,000.00                  494     111,957,012.36         8.13      7.359     3.310      713     77.53    77.85         30.29
$250,000.01 - $300,000.00                  436     120,499,557.59         8.75      7.192     3.270      709     77.48    77.68         23.63
$300,000.01 - $350,000.00                  342     110,933,531.81         8.06      7.447     3.348      710     79.05    79.22         24.49
$350,000.01 - $400,000.00                  320     120,700,085.51         8.76      7.274     3.251      709     78.25    78.42         18.04
$400,000.01 - $450,000.00                  272     116,486,681.19         8.46      7.160     3.284      709     78.60    78.79         18.66
$450,000.01 - $500,000.00                  205       98,120,915.49        7.13      7.019     3.232      713     79.23    79.78         15.63
$500,000.01 - $700,000.00                  418     244,261,192.51       17.74       7.159     3.255      715     78.19    78.89         10.24
$700,000.01 - $900,000.00                  115       91,245,558.53        6.63      7.040     3.086      720     75.03    75.19         10.12
$900,000.01 - $1,000,000.00                 59       57,448,715.41        4.17      6.885     3.047      710     75.06    75.24          6.74
$1,000,000.01 - $1,100,000.00               14       14,816,976.39        1.08      6.997     2.968      721     65.20    65.57         14.24
$1,100,000.01 or more                      111     177,913,720.58       12.92       7.040     2.994      710     68.59    69.38         15.31
Total:                                   3,545 1,377,082,493.55       100.00       7.175     3.216       712    76.34    76.72         18.38



                                                   Original Gross Rate of the Mortgage Loans
                                                                       % of Pool Weighted Weighted             Weighted Weighted
                                                                           by      Average Average Weighted Average Average
                                     Number                            Principal Gross       Gross    Average Original Combined     % Full
             Original Gross Rate     of Loans      Principal Balance Balance Coupon          Margin    FICO     LTV      LTV        Alt Doc
0.501% - 1.000%                           1,686         706,923,379.99      51.33      6.971    3.000      709     73.66    74.12       11.27
1.001% - 1.500%                             760         277,032,635.49      20.12      7.347    3.309      718     75.06    75.40       26.68
1.501% - 2.000%                             726         269,927,001.91      19.60      7.284    3.480      709     79.98    80.26       14.33
2.001% - 2.500%                             263          81,894,854.25        5.95     7.784    3.640      725     86.61    86.75       61.67
2.501% - 3.000%                              63          27,631,949.91        2.01     7.653    3.681      713     85.05    85.69        8.45
3.001% - 3.500%                              32           8,017,972.00        0.58     8.520    4.222      747     97.19    97.19       84.44
3.501% - 4.000%                               2             691,000.00        0.05     7.663    3.231      686    100.00   100.00      100.00
4.501% - 5.000%                               2           1,063,750.00        0.08     4.950    2.757      750     73.63    73.63        0.00
5.001% - 5.500%                               4           1,887,200.00        0.14     5.483    3.318      711     77.86    81.39       11.02
5.501% - 6.000%                               2             797,000.00        0.06     5.930    3.266      671     67.40    67.40        0.00
6.001% - 6.500%                               2             733,000.00        0.05     6.500    2.680      740     70.46    70.46        0.00
7.001% or more                                3             482,750.00        0.04     7.990    3.886      740     94.29    94.29       77.63
Total:                                   3,545      1,377,082,493.55      100.00      7.175    3.216       712    76.34    76.72       18.38


                                                  DESCRIPTION OF THE TOTAL COLLATERAL



                                                   Current Gross Rate of the Mortgage Loans
                                                                       % of Pool Weighted Weighted            Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                     Number                            Principal Gross      Gross    Average Original Combined      % Full
             Current Gross Rate      of Loans      Principal Balance Balance Coupon         Margin    FICO     LTV      LTV         Alt Doc
0.501% - 1.000%                            120          50,348,977.00        3.66     1.000    3.029      708     71.85    72.19         6.96
1.001% - 1.500%                             37          16,488,578.97        1.20     1.376    3.561      701     77.89    77.89        21.63
1.501% - 2.000%                             76          27,691,298.00        2.01     1.840    3.528      703     79.03    79.03         9.58
2.001% - 2.500%                             15            3,924,900.00       0.29     2.393    3.960      707     89.19    89.19        66.74
2.501% - 3.000%                              5            2,226,500.00       0.16     2.619    3.898      693     92.59    92.59        26.90
3.001% - 3.500%                              1              188,000.00       0.01     3.400    4.690      720    100.00   100.00       100.00
4.501% - 5.000%                              2            1,063,750.00       0.08     4.950    2.757      750     73.63    73.63         0.00
5.001% - 5.500%                              4            1,887,200.00       0.14     5.483    3.318      711     77.86    81.39        11.02
5.501% - 6.000%                              2              797,000.00       0.06     5.930    3.266      671     67.40    67.40         0.00
6.001% - 6.500%                              4            1,582,900.00       0.11     6.474    2.326      732     73.93    73.93        31.58
6.501% - 7.000%                            212          95,849,349.08        6.96     6.861    2.429      716     72.89    73.73        17.88
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7.001% or more                              3,067       1,175,034,040.50    85.33     7.704     3.273       713      76.66      77.02      18.90
Total:                                     3,545      1,377,082,493.55     100.00    7.175      3.216       712     76.34      76.72       18.38



                                                         Gross Margin of the Mortgage Loans
                                                                          % of Pool Weighted Weighted            Weighted Weighted
                                                                             by      Average Average Weighted Average Average
                                        Number                            Principal   Gross    Gross    Average Original Combined       % Full
               Gross Margin             of Loans      Principal Balance Balance Coupon         Margin    FICO     LTV      LTV          Alt Doc
2.001% - 2.250%                                12            5,112,136.00       0.37     6.180    2.137      712     63.78    64.50         43.43
2.251% - 2.500%                               189           86,614,583.08       6.29     6.466    2.425      717     73.31    74.19         14.29
2.501% - 2.750%                               543          248,843,743.09     18.07      6.842    2.670      718     73.77    73.98         15.13
2.751% - 3.000%                               603          254,998,985.82     18.52      6.829    2.886      711     73.52    73.85         14.96
3.001% - 3.250%                               482          176,192,948.52     12.79      7.257    3.150      719     74.02    74.76         17.71
3.251% - 3.500%                               528          173,259,490.77     12.58      7.162    3.413      710     76.20    76.48         17.69
3.501% - 3.750%                               604          233,299,296.60     16.94      7.479    3.601      703     77.54    77.90         18.20
3.751% - 4.000%                               288           95,228,069.36       6.92     7.905    3.861      707     81.14    81.60         21.08
4.001% - 4.250%                               109           37,871,264.64       2.75     7.407    4.125      713     86.14    86.31         45.85
4.251% - 4.500%                                74           25,202,753.76       1.83     7.771    4.384      713     90.09    90.09         31.88
4.501% - 4.750%                               110           38,742,821.91       2.81     8.658    4.600      726     92.78    92.78         33.38
4.751% - 5.000%                                 3            1,716,400.00       0.12     9.192    4.760      673     89.59    89.59          0.00
Total:                                      3,545      1,377,082,493.55     100.00      7.175    3.216       712    76.34    76.72         18.38




                                                     DESCRIPTION OF THE TOTAL COLLATERAL



                                               Remaining Months to Maturity of the Mortgage Loans
                                                                      % of Pool Weighted Weighted                Weighted Weighted
                                                                         by        Average Average Weighted Average Average
                                        Number                        Principal     Gross      Gross    Average Original Combined       % Full
        Remaining Months to Maturity    of Loans Principal Balance Balance Coupon             Margin     FICO     LTV      LTV          Alt Doc
351 - 355                                        1         196,788.96       0.01       7.802      3.370      699     90.00    90.00        100.00
356 - 360                                    1,634     602,692,329.31      43.77       7.075      3.133      713     74.86    75.29         18.54
361 or more                                  1,910     774,193,375.28      56.22       7.252      3.280      712     77.48    77.83         18.23
Total:                                      3,545 1,377,082,493.55      100.00        7.175      3.216       712    76.34    76.72         18.38



                                                      Seasoning of the Mortgage Loans
                                                                     % of Pool Weighted Weighted             Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number                       Principal    Gross    Gross    Average Original Combined           % Full
                   Seasoning            of Loans Principal Balance Balance Coupon          Margin    FICO     LTV      LTV              Alt Doc
0                                            3,447  1,340,969,666.03      97.38      7.158    3.212      712     76.28    76.68             18.23
1-6                                             98     36,112,827.52        2.62     7.801    3.369      713     78.29    78.29             24.02
Total:                                      3,545 1,377,082,493.55      100.00      7.175    3.216       712    76.34    76.72             18.38



                                                         Months to Roll of the Mortgage Loans
                                                                          % of Pool Weighted Weighted              Weighted Weighted
                                                                               by      Average Average Weighted Average Average
                                        Number                             Principal    Gross    Gross    Average Original Combined     % Full
                 Months to Roll         of Loans      Principal Balance Balance Coupon           Margin    FICO     LTV      LTV        Alt Doc
1                                            3,532       1,372,118,793.55       99.64      7.180    3.216      712     76.34    76.72       18.40
3                                                2             684,900.00         0.05     6.621    3.095      680     78.74    78.74       30.65
6                                                7           2,899,050.00         0.21     5.936    3.351      722     75.99    78.28        5.69
12                                               4           1,379,750.00         0.10     5.231    2.758      735     73.87    73.87       15.08
Total:                                      3,545      1,377,082,493.55       100.00      7.175    3.216       712    76.34    76.72       18.38

                                                     DESCRIPTION OF THE TOTAL COLLATERAL


                                                Gross Lifetime Maximum Rate of the Mortgage Loans
                                                                        % of     Weighted Weighted             Weighted Weighted
                                                                       Pool by Average      Average Weighted Average     Average
                                        Number         Principal      Principal   Gross      Gross    Average Original Combined % Full
      Gross Lifetime Maximum Rate      of Loans        Balance        Balance    Coupon      Margin    FICO     LTV       LTV      Alt Doc
7.001% - 7.500%                                5         1,948,450.00       0.14     7.554      3.122      677     77.70     77.70      4.41
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9.501% - 10.000%                           2,198         950,346,027.42     69.01    6.957      3.028      709       73.35      73.88       12.79
10.001% - 10.500%                            704         207,223,150.52     15.05    7.433      3.312      723       74.19      74.30       18.90
10.501% - 11.000%                            636         217,079,465.61     15.76    7.877      3.945      718       91.45      91.45       42.45
12.001% or more                                2             485,400.00      0.04    7.707      3.275      650       78.58      78.58       41.82
Total:                                    3,545      1,377,082,493.55     100.00    7.175      3.216       712      76.34      76.72       18.38


                                                 Rate Adjustment Frequency of the Mortgage Loans
                                                                       % of Pool Weighted Weighted               Weighted Weighted
                                                                          by       Average Average Weighted Average Average
                                        Number                         Principal    Gross     Gross     Average Original Combined       % Full
          Rate Adjustment Frequency     of Loans Principal Balance Balance Coupon             Margin     FICO     LTV      LTV          Alt Doc
1                                            3,545    1,377,082,493.55    100.00       7.175      3.216      712     76.34    76.72         18.38
Total:                                      3,545 1,377,082,493.55       100.00       7.175      3.216       712    76.34    76.72         18.38


                                                Payment Adjustment Frequency of the Mortgage Loans
                                                                       % of Pool Weighted Weighted               Weighted Weighted
                                                                          by       Average Average Weighted Average Average
                                        Number                         Principal    Gross     Gross     Average Original Combined       % Full
         Payment Adjustment Frequency   of Loans Principal Balance Balance Coupon             Margin     FICO     LTV      LTV          Alt Doc
1                                               34       14,498,285.00       1.05      6.839      3.258      691     78.29    81.13         54.89
12                                           3,511    1,362,584,208.55     98.95       7.179      3.215      712     76.31    76.67         17.99
Total:                                      3,545 1,377,082,493.55       100.00       7.175      3.216       712    76.34    76.72         18.38


                                                     DESCRIPTION OF THE TOTAL COLLATERAL



                                                 Maximum Balance Amount of the Mortgage Loans
                                                                       % of Pool Weighted Weighted            Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number                         Principal   Gross    Gross    Average Original Combined          % Full
           Maximum Balance Amount       of Loans Principal Balance Balance Coupon           Margin    FICO     LTV      LTV             Alt Doc
0                                               34       14,498,285.00       1.05     6.839    3.258      691     78.29    81.13            54.89
110                                            881      323,997,668.42     23.53      7.186    3.301      711     78.92    79.35            33.72
125                                          2,630    1,038,586,540.13     75.42      7.176    3.189      713     75.50    75.84            13.09
Total:                                      3,545 1,377,082,493.55       100.00      7.175    3.216       712    76.34    76.72            18.38



                                                     Periodic Payment Cap of the Mortgage Loans
                                                                         % of Pool Weighted Weighted              Weighted Weighted
                                                                             by      Average Average Weighted Average Average
                                        Number                           Principal    Gross     Gross    Average Original Combined      % Full
             Periodic Payment Cap       of Loans     Principal Balance Balance Coupon           Margin    FICO     LTV      LTV         Alt Doc
0                                               34         14,498,285.00        1.05     6.839     3.258      691     78.29    81.13        54.89
7.5                                          3,511      1,362,584,208.55      98.95      7.179     3.215      712     76.31    76.67        17.99
Total:                                      3,545     1,377,082,493.55     100.00       7.175     3.216       712    76.34    76.72        18.38



                                                   Original Loan-to-Value of the Mortgage Loans
                                                                       % of Pool Weighted Weighted                Weighted Weighted
                                                                            by      Average Average Weighted Average Average
                                        Number                          Principal    Gross      Gross    Average Original Combined      % Full
                Original LTV            of Loans Principal Balance Balance Coupon               Margin    FICO     LTV      LTV         Alt Doc
50.00% or less                                 149       46,861,441.81         3.40     7.037      3.064      726     42.43    43.23         4.22
50.01% - 55.00%                                 78       34,378,021.49         2.50     7.056      3.064      722     52.36    53.19        10.57
55.01% - 60.00%                                 96       42,122,870.83         3.06     7.026      2.940      713     57.77    58.12         7.11
60.01% - 65.00%                                144       72,886,414.34         5.29     6.953      3.125      704     63.27    63.39         3.25
65.01% - 70.00%                                235      129,288,638.37         9.39     6.907      3.040      705     68.72    69.25         9.93
70.01% - 75.00%                                693      274,595,445.54        19.94     7.135      3.171      700     74.18    74.49         7.28
75.01% - 80.00%                              1,313      500,341,364.91        36.33     7.026      3.042      718     79.52    80.09        19.12
80.01% - 85.00%                                 53       17,072,956.12         1.24     7.507      3.697      710     83.95    83.95        22.00
85.01% - 90.00%                                524      185,621,082.89        13.48     7.682      3.755      713     89.48    89.48        20.63
90.01% - 95.00%                                113       33,900,232.52         2.46     7.603      3.440      703     94.62    94.62        93.07
95.01% - 100.00%                               147       40,014,024.73         2.91     8.148      4.132      741     99.90    99.90       100.00
Total:                                      3,545 1,377,082,493.55         100.00      7.175      3.216       712    76.34    76.72        18.38
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                                                  DESCRIPTION OF THE TOTAL COLLATERAL



                                              Geographical Distribution of the Mortgage Loans
                                                                    % of Pool Weighted Weighted                Weighted Weighted
                                                                        by       Average Average Weighted Average Average
                                     Number                         Principal     Gross      Gross    Average Original Combined     % Full
         Geographical Distribution   of Loans Principal Balance Balance Coupon              Margin     FICO     LTV      LTV        Alt Doc
California                                1,188     553,584,493.23       40.20       7.125      3.186      713     75.11    75.52       10.29
Florida                                     769     254,539,946.09       18.48       7.318      3.323      714     77.58    77.67       18.50
New York                                     89      63,706,092.45         4.63      7.090      2.985      705     67.81    68.77       11.82
Virginia                                    144      59,247,718.49         4.30      7.046      3.433      706     78.93    79.43       28.83
Arizona                                     169      57,622,865.28         4.18      7.271      3.203      713     76.87    77.37       21.82
Other                                     1,186     388,381,378.01       28.20       7.173      3.195      713     78.19    78.61       28.80
Total:                                   3,545 1,377,082,493.55        100.00       7.175      3.216       712    76.34    76.72       18.38



                                              California Loan Breakdown of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                        by      Average Average Weighted Average Average
                                     Number                          Principal   Gross      Gross    Average Original Combined      % Full
         California Loan Breakdown   of Loans Principal Balance Balance Coupon             Margin     FICO     LTV      LTV         Alt Doc
Northern CA                                 708       330,595,733.29     24.01       7.125     3.181      716     75.29    75.75         7.86
Southern CA                                 480       222,988,759.94     16.19       7.124     3.192      707     74.84    75.18        13.90
State not in CA                           2,357       823,498,000.32     59.80       7.209     3.236      712     77.16    77.53        23.82
Total:                                   3,545 1,377,082,493.55        100.00       7.175     3.216       712    76.34    76.72        18.38


                                                  DESCRIPTION OF THE TOTAL COLLATERAL



                                                    Top 10 Zip Codes of the Mortgage Loans
                                                                       % of Pool Weighted Weighted             Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                     Number                            Principal Gross       Gross    Average Original Combined     % Full
             Top 10 Zip Codes        of Loans      Principal Balance Balance Coupon          Margin    FICO     LTV      LTV        Alt Doc
34746                                        26           7,711,350.00       0.56      8.429    3.997      744     86.52    86.52        7.46
11968                                         5           7,643,000.00       0.56      7.346    2.914      726     63.56    65.52       45.37
94549                                         5           6,698,200.00       0.49      6.142    2.882      731     68.73    68.73        0.00
29451                                         4           4,906,200.00       0.36      7.611    3.179      734     76.33    76.33       54.45
02891                                         2           4,610,000.00       0.33      7.548    3.116      786     51.87    51.87        0.00
34108                                         5           4,476,925.00       0.33      7.339    2.907      697     69.89    69.89        0.00
94513                                         9           4,453,764.00       0.32      7.061    3.209      722     78.89    78.89       11.23
94565                                        11           4,137,350.00       0.30      7.677    3.245      692     75.72    75.72        0.00
94561                                         9           4,057,650.00       0.29      7.251    3.331      705     74.24    75.43        0.00
91915                                         7           3,954,340.00       0.29      8.110    3.678      702     79.34    79.34        0.00
Other                                     3,462       1,324,433,714.55      96.18      7.164    3.214      712     76.49    76.87       18.57
Total:                                   3,545      1,377,082,493.55         100      7.175    3.216       712    76.34    76.72       18.38



                                                      FICO Scores of the Mortgage Loans
                                                                      % of Pool Weighted Weighted             Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                     Number                           Principal    Gross    Gross    Average Original Combined % Full
                 FICO Scores         of Loans     Principal Balance Balance       Coupon    Margin    FICO     LTV      LTV      Alt Doc
600 or less or not available                 5           1,127,123.00        0.08     7.772     3.34      586     93.01    93.01     59.15
601 - 620                                   15           5,009,469.00        0.36     7.565    3.133      616     73.22    73.22     43.14
621 - 640                                  154          48,526,780.83        3.52     7.491    3.253      632     71.36    71.56     29.11
641 - 660                                  309         119,092,727.46        8.65     6.805    3.200      651     72.76    73.14     19.24
661 - 680                                  530         210,659,145.28      15.30      7.171    3.250      670     77.03    77.40     10.44
681 - 700                                  573         235,289,271.88      17.09      7.053    3.193      691     76.97    77.33     17.37
701 - 720                                  516         197,693,229.81      14.36      7.299    3.293      710     78.77    79.17     20.78
721 - 740                                  423         169,019,994.10      12.27      7.197    3.189      730     76.82    77.13     16.97
741 - 760                                  341         137,608,531.89        9.99     7.336    3.227      751     76.13    76.91     20.65
761 greater than or equal to               679         253,056,220.30      18.38      7.196    3.162      782     75.68    75.97     20.62
Total:                                   3,545     1,377,082,493.55      100.00      7.175    3.216       712    76.34    76.72     18.38

                                                  DESCRIPTION OF THE TOTAL COLLATERAL
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                                                      Mortgage Properties of the Mortgage Loans
                                                                         % of Pool Weighted Weighted              Weighted Weighted
                                                                             by      Average Average Weighted Average Average
                                        Number                           Principal    Gross     Gross    Average Original Combined % Full
             Mortgage Properties        of Loans     Principal Balance Balance       Coupon     Margin    FICO     LTV      LTV      Alt Doc
PUD                                            756        312,233,755.78      22.67      7.216     3.224      714     77.93    78.31     21.47
Condominium                                    460        139,263,214.49      10.11      7.416     3.313      720     80.24    80.47     23.74
Coop                                             7          2,940,360.00        0.21     7.160     2.728      700     75.92    75.92     74.49
Single Family                                2,148        861,605,088.96      62.57      7.112     3.194      710     75.38    75.81     15.95
Two- to Four Family                            174         61,040,074.32        4.43     7.309     3.283      713     72.78    72.99     21.99
Total:                                      3,545     1,377,082,493.55      100.00      7.175     3.216       712    76.34    76.72     18.38



                                                        Occupancy Types of the Mortgage Loans
                                                                          % of Pool Weighted Weighted             Weighted Weighted
                                                                              by      Average Average Weighted Average Average
                                        Number                            Principal    Gross    Gross    Average Original Combined     % Full
              Occupancy Types           of Loans      Principal Balance Balance Coupon          Margin    FICO     LTV      LTV        Alt Doc
Investor                                       711         208,961,733.52      15.17      7.438    3.315      723     74.18    74.30       18.90
Primary                                      2,592       1,080,491,393.40      78.46      7.092    3.196      709     76.38    76.82       18.41
Secondary                                      242          87,629,366.63        6.36     7.571    3.218      726     80.88    81.33       16.79
Total:                                      3,545      1,377,082,493.55      100.00      7.175    3.216       712    76.34    76.72       18.38



                                                          Loan Purpose of the Mortgage Loans
                                                                          % of Pool Weighted Weighted             Weighted Weighted
                                                                              by     Average Average Weighted Average Average
                                        Number                             Principal   Gross    Gross    Average Original Combined     % Full
                Loan Purpose            of Loans      Principal Balance Balance Coupon          Margin    FICO     LTV      LTV        Alt Doc
Purchase                                     1,014         379,662,837.24      27.57      7.490    3.341      726     84.08    84.51       28.35
Refinance - Rate Term                          622         248,547,568.97      18.05      7.230    3.378      702     79.99    80.99       18.48
Refinance - Cashout                          1,909         748,872,087.34      54.38      6.997    3.098      708     71.20    71.36       13.29
Total:                                      3,545      1,377,082,493.55      100.00      7.175    3.216       712    76.34    76.72       18.38


                                                     DESCRIPTION OF THE TOTAL COLLATERAL



                                                         Document Type of the Mortgage Loans
                                                                          % of Pool Weighted Weighted            Weighted Weighted
                                                                             by      Average Average Weighted Average Average
                                        Number                            Principal   Gross    Gross    Average Original Combined      % Full
               Document Type            of Loans      Principal Balance Balance Coupon         Margin    FICO     LTV      LTV         Alt Doc
Full                                           824         253,102,609.99     18.38      7.439    3.334      715     83.98    84.41       100.00
Reduced                                      2,249         974,256,085.69     70.75      7.107    3.179      714     76.00    76.39         0.00
Stated Doc                                     472         149,723,797.87     10.87      7.174    3.257      695     65.62    65.86         0.00
Total:                                      3,545      1,377,082,493.55     100.00      7.175    3.216       712    76.34    76.72        18.38



                                                    Recast Period of the Mortgage Loans
                                                                     % of Pool Weighted Weighted             Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number                       Principal    Gross    Gross    Average Original Combined          % Full
                Recast Period           of Loans Principal Balance Balance Coupon          Margin    FICO     LTV      LTV             Alt Doc
0                                               34     14,498,285.00        1.05     6.839    3.258      691     78.29    81.13            54.89
60                                           3,511  1,362,584,208.55      98.95      7.179    3.215      712     76.31    76.67            17.99
Total:                                      3,545 1,377,082,493.55      100.00      7.175    3.216       712    76.34    76.72            18.38



                                            First Payment Adjustment (Months) of the Mortgage Loans
                                                                       % of Pool Weighted Weighted               Weighted Weighted
                                                                          by       Average Average Weighted Average Average
                                        Number                         Principal    Gross      Gross    Average Original Combined      % Full
    First Payment Adjustment (Months)   of Loans Principal Balance Balance Coupon             Margin     FICO     LTV      LTV         Alt Doc
1                                               34       14,498,285.00       1.05      6.839      3.258      691     78.29    81.13        54.89
12                                           2,907    1,160,032,042.14     84.24       7.149      3.214      713     76.07    76.42        16.64
60                                             604      202,552,166.41     14.71       7.350      3.224      710     77.73    78.15        25.73
Total:                                      3,545 1,377,082,493.55       100.00       7.175      3.216       712    76.34    76.72        18.38
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                               DESCRIPTION OF THE GROUP I COLLATERAL

                                         SUMMARY - GROUP I
                                                                                                   W.A. Remaining
Number of Mortgage Loans:                                                                    1,254 Term (Months):         430
Aggregate Principal Balance:                                                                             Range           355 -
                                                                                 $522,446,017.83(Months):                 480
Average Principal Balance:                                                                         W.A. Seasoning
                                                                                     $416,623.62 (Months):                   0
        Range:                                                                                           Range
                                                                       $43,200.00 - $4,500,000.00(Months):                0-5
Original W.A. Coupon:                                                                     1.353%
         Range:                                                                          1.000% - California
                                                                                          7.775% Concentration:       43.75%
Gross W.A. Coupon:                                                                        7.066% W.A. Original LTV: 75.70%
       Range:                                                                            1.000% -        Range:      19.38% -
                                                                                          8.982%                     100.00%
Net W.A. Coupon:                                                                                   Percentage LTV >
                                                                                          6.358% 80% & no MI:          0.00%
Gross Margin:                                                                                      W.A. Months to            1
                                                                                          3.014% Roll:
        Range:                                                                           2.020% -        Range
                                                                                          4.550%(Months):               1 - 12
Net Margin:                                                                                        Documentation
                                                                                          2.305% Status:
W.A. Gross Max Rate:                                                                     10.106%         Full:        20.50%
        Range:                                                                           7.500% -        Other:
                                                                                         10.550%                      79.50%
W.A. Net Max Rate:                                                                        9.397% Interest Only Loans: 1.47%
                                                                                                   Non-Zero W.A.          716
                                                                                                   FICO Score:
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                                            DESCRIPTION OF THE GROUP I COLLATERAL



                                                             Amortization Type
                                                                  % of Pool Weighted Weighted              Weighted Weighted
                                                                      by       Average Average Weighted Average Average
                                    Number         Principal      Principal     Gross    Gross    Average Original Combined     % Full
            Amortization Type       of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV        Alt Doc
Interest Only                               16       7,687,572.00        1.47      7.239    3.302      677     79.39    81.26       80.84
Negative Amortizing                      1,238     514,758,445.83      98.53       7.064    3.009      716     75.64    76.05       19.60
Total:                                  1,254    522,446,017.83      100.00       7.066    3.014       716    75.70    76.13       20.50


                                             Prepayment Penalty Type of the Mortgage Loans
                                                                 % of Pool Weighted Weighted               Weighted Weighted
                                                                     by      Average Average Weighted Average Average
                                    Number        Principal      Principal    Gross      Gross    Average Original Combined     % Full
          Prepayment Penalty Type   of Loans       Balance       Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
12 mo - HARD                              854     367,095,664.77      70.26      7.042      3.001      717     75.53    75.97       18.77
24 mo - HARD                              400     155,350,353.06      29.74      7.123      3.042      711     76.10    76.50       24.58
Total:                                  1,254 522,446,017.83        100.00      7.066      3.014       716    75.70    76.13       20.50


                                                  Loan Servicers of the Mortgage Loans
                                                                  % of Pool Weighted Weighted             Weighted Weighted
                                                                      by     Average Average Weighted Average Average
                                    Number         Principal      Principal   Gross     Gross    Average Original Combined      % Full
              Loan Servicers        of Loans        Balance       Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
AHM                                      1,254     522,446,017.83     100.00      7.066    3.014      716     75.70    76.13        20.50
Total:                                  1,254    522,446,017.83      100.00      7.066    3.014       716    75.70    76.13        20.50
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                                             DESCRIPTION OF THE GROUP I COLLATERAL



                                               Current Principal Balance of the Mortgage Loans
                                                                   % of Pool Weighted Weighted                 Weighted Weighted
                                                                        by       Average Average Weighted Average Average
                                      Number        Principal       Principal     Gross     Gross     Average Original Combined     % Full
          Current Principal Balance   of Loans       Balance        Balance      Coupon    Margin      FICO     LTV      LTV        Alt Doc
$50,000.00 or less                            4         180,800.00         0.03      7.748      3.316      710     80.00    80.00       76.11
$50,000.01 - $100,000.00                     37       2,879,184.74         0.55      7.677      3.245      717     76.90    76.90       68.83
$100,000.01 - $150,000.00                    63       8,031,252.66         1.54      7.143      3.015      732     72.45    72.60       43.92
$150,000.01 - $200,000.00                   124      22,326,496.11         4.27      7.275      3.043      718     78.30    78.61       35.36
$200,000.01 - $250,000.00                   179      40,803,435.92         7.81      7.257      3.077      717     78.28    78.81       37.40
$250,000.01 - $300,000.00                   138      38,234,950.46         7.32      7.189      3.065      712     77.62    77.74       28.22
$300,000.01 - $350,000.00                   118      38,134,760.78         7.30      7.192      3.073      716     78.29    78.52       22.98
$350,000.01 - $400,000.00                   118      44,289,578.32         8.48      7.170      2.986      709     78.43    78.81       21.16
$400,000.01 - $450,000.00                    97      41,318,502.64         7.91      6.973      3.051      711     78.42    78.55       18.49
$450,000.01 - $500,000.00                    88      42,318,371.43         8.10      7.068      3.060      712     78.32    78.77       11.51
$500,000.01 - $700,000.00                   164      95,891,900.10       18.35       6.956      3.075      722     77.65    78.65       11.12
$700,000.01 - $900,000.00                    50      39,454,366.00         7.55      6.949      2.923      722     73.96    74.10        7.50
$900,000.01 - $1,000,000.00                  19      18,436,166.51         3.53      7.237      2.805      712     72.71    72.96       15.71
$1,000,000.01 - $1,100,000.00                 2       2,160,000.00         0.41      4.641      2.904      695     60.10    60.10       49.07
$1,100,000.01 or more                        53      87,986,252.16       16.84       6.976      2.915      714     67.86    68.27       21.92
Total:                                    1,254 522,446,017.83         100.00       7.066      3.014       716    75.70    76.13       20.50


                                                  Original Gross Rate of the Mortgage Loans
                                                                    % of Pool Weighted Weighted               Weighted Weighted
                                                                        by      Average Average Weighted Average Average
                                      Number         Principal      Principal    Gross      Gross    Average Original Combined      % Full
             Original Gross Rate      of Loans        Balance       Balance     Coupon      Margin    FICO     LTV      LTV         Alt Doc
0.501% - 1.000%                             564      261,105,341.05      49.98      6.765      2.757      713     73.31    73.81        13.98
1.001% - 1.500%                             318      121,782,927.14      23.31      7.204      3.171      722     75.19    75.50        27.79
1.501% - 2.000%                             240       97,237,159.75      18.61      7.428      3.314      712     78.61    79.19        17.39
2.001% - 2.500%                             103       30,360,705.89        5.81     7.672      3.379      720     84.92    84.92        50.82
2.501% - 3.000%                              19        9,169,240.00        1.76     7.701      3.636      727     83.78    83.78        25.46
3.001% - 3.500%                               8        2,474,644.00        0.47     8.186      3.754      752     95.06    95.06        75.84
5.001% - 5.500%                               1          208,000.00        0.04     5.350      2.400      694     74.82    74.82       100.00
7.001% or more                                1          108,000.00        0.02     7.775      3.450      667     74.48    74.48         0.00
Total:                                    1,254    522,446,017.83      100.00      7.066      3.014       716    75.70    76.13        20.50
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                                          DESCRIPTION OF THE GROUP I COLLATERAL



                                               Current Gross Rate of the Mortgage Loans
                                                                % of Pool Weighted Weighted               Weighted Weighted
                                                                    by      Average Average Weighted Average        Average
                                  Number         Principal      Principal    Gross      Gross    Average Original Combined      % Full
             Current Gross Rate   of Loans        Balance       Balance      Coupon     Margin    FICO     LTV       LTV        Alt Doc
0.501% - 1.000%                           35      17,905,325.00        3.43     1.000      2.726      716     70.24     70.55        9.39
1.001% - 1.500%                           17       7,741,020.00        1.48     1.391      3.236      725     77.46     77.46       18.51
1.501% - 2.000%                           12       5,153,600.00        0.99     1.832      3.389      706     81.82     81.82       28.08
2.001% - 2.500%                            3         762,200.00        0.15     2.392      3.463      723     84.00     84.00       64.94
2.501% - 3.000%                            1         599,000.00        0.11     2.875      4.065      726    100.00    100.00      100.00
5.001% - 5.500%                            1         208,000.00        0.04     5.350      2.400      694     74.82     74.82      100.00
6.001% - 6.500%                            2         849,900.00        0.16     6.452      2.020      725     76.92     76.92       58.82
6.501% - 7.000%                           95      43,404,128.66        8.31     6.869      2.437      717     72.01     73.17       21.34
7.001% or more                         1,088     445,822,844.17       85.33     7.504      3.073      715     76.12     76.51       20.52
Total:                                1,254    522,446,017.83      100.00      7.066      3.014       716    75.70     76.13       20.50


                                                 Gross Margin of the Mortgage Loans
                                                                % of Pool Weighted Weighted             Weighted Weighted
                                                                    by      Average Average Weighted Average      Average
                                  Number         Principal      Principal    Gross    Gross    Average Original Combined        % Full
               Gross Margin       of Loans        Balance       Balance     Coupon    Margin    FICO     LTV       LTV          Alt Doc
2.001% - 2.250%                           4        1,358,900.00        0.26     6.508    2.076      704     76.58     79.29         74.24
2.251% - 2.500%                          84       39,272,728.66        7.52     6.266    2.419      720     71.50     72.69         16.64
2.501% - 2.750%                         249      113,506,308.18      21.73      6.893    2.688      716     73.11     73.37         17.34
2.751% - 3.000%                         378      165,121,559.86      31.61      6.798    2.883      709     73.50     73.62         13.91
3.001% - 3.250%                         249       93,212,642.83      17.84      7.337    3.151      720     73.42     74.27         19.25
3.251% - 3.500%                         102       35,673,716.35        6.83     7.385    3.390      719     79.10     79.39         29.06
3.501% - 3.750%                          92       38,319,847.52        7.33     7.969    3.640      717     83.66     84.63         43.86
3.751% - 4.000%                          74       25,301,610.43        4.84     8.075    3.863      724     92.50     92.50         32.64
4.001% - 4.250%                          20       10,344,504.00        1.98     6.962    4.075      728     92.60     92.60         33.39
4.251% - 4.500%                           1           75,000.00        0.01     8.697    4.265      698    100.00    100.00        100.00
4.501% - 4.750%                           1          259,200.00        0.05     8.982    4.550      705     90.00     90.00          0.00
Total:                                1,254    522,446,017.83      100.00      7.066    3.014       716    75.70     76.13         20.50
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                                               DESCRIPTION OF THE GROUP I COLLATERAL


                                              Remaining Months to Maturity of the Mortgage Loans
                                                                    % of Pool Weighted Weighted                Weighted Weighted
                                                                        by       Average Average Weighted Average Average
                                       Number        Principal      Principal     Gross     Gross     Average Original Combined     % Full
        Remaining Months to Maturity   of Loans       Balance       Balance      Coupon     Margin     FICO     LTV      LTV        Alt Doc
351 - 355                                      1         196,788.96        0.04      7.802      3.370      699     90.00    90.00      100.00
356 - 360                                    571     218,086,276.53      41.74       6.984      2.968      716     74.46    74.89       22.05
361 or more                                  682     304,162,952.34      58.22       7.125      3.046      716     76.57    77.00       19.34
Total:                                     1,254 522,446,017.83        100.00       7.066      3.014       716    75.70    76.13       20.50


                                                        Seasoning of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                       Number         Principal       Principal    Gross    Gross    Average Original Combined      % Full
                Seasoning              of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
0                                           1,220     509,402,460.05       97.50      7.054    3.011      715     75.62    76.06        20.58
1-6                                            34      13,043,557.78         2.50     7.553    3.121      731     78.77    78.77        17.28
Total:                                     1,254    522,446,017.83       100.00      7.066    3.014       716    75.70    76.13        20.50


                                                      Months to Roll of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                       Number         Principal       Principal    Gross    Gross    Average Original Combined      % Full
              Months to Roll           of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
1                                           1,252     522,130,017.83       99.94      7.067    3.014      716     75.70    76.13        20.47
12                                              2         316,000.00         0.06     6.179    2.759      685     74.70    74.70        65.82
Total:                                     1,254    522,446,017.83       100.00      7.066    3.014       716    75.70    76.13        20.50
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                                               DESCRIPTION OF THE GROUP I COLLATERAL



                                               Gross Lifetime Maximum Rate of the Mortgage Loans
                                                                      % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number        Principal       Principal    Gross    Gross     Average Original Combined      % Full
       Gross Lifetime Maximum Rate      of Loans       Balance        Balance     Coupon    Margin     FICO     LTV      LTV         Alt Doc
7.001% - 7.500%                                 2          728,750.00        0.14     7.240     2.808      684     78.84    78.84         0.00
9.501% - 10.000%                              723     351,090,899.19       67.20      6.877     2.811      711     72.77    73.38        15.04
10.001% - 10.500%                             310       95,964,796.60      18.37      7.243     3.215      727     74.07    74.19        21.58
10.501% - 11.000%                             219       74,661,572.04      14.29      7.727     3.707      721     91.52    91.52        45.01
Total:                                      1,254 522,446,017.83         100.00      7.066     3.014       716    75.70    76.13        20.50


                                                 Rate Adjustment Frequency of the Mortgage Loans
                                                                      % of Pool Weighted Weighted               Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number         Principal      Principal    Gross      Gross    Average Original Combined     % Full
          Rate Adjustment Frequency     of Loans        Balance       Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
1                                            1,254     522,446,017.83     100.00      7.066      3.014      716     75.70    76.13       20.50
Total:                                      1,254 522,446,017.83         100.00      7.066      3.014       716    75.70    76.13       20.50



                                              Payment Adjustment Frequency of the Mortgage Loans
                                                                     % of Pool Weighted Weighted               Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number        Principal      Principal    Gross      Gross    Average Original Combined      % Full
         Payment Adjustment Frequency   of Loans       Balance       Balance      Coupon    Margin     FICO     LTV      LTV         Alt Doc
1                                               16      7,687,572.00        1.47     7.239      3.302      677     79.39    81.26        80.84
12                                           1,238    514,758,445.83      98.53      7.064      3.009      716     75.64    76.05        19.60
Total:                                      1,254 522,446,017.83        100.00      7.066      3.014       716    75.70    76.13        20.50
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                                                DESCRIPTION OF THE GROUP I COLLATERAL


                                                 Maximum Balance Amount of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                         Number       Principal      Principal    Gross    Gross     Average Original Combined        % Full
         Maximum Balance Amount          of Loans      Balance       Balance     Coupon    Margin     FICO     LTV      LTV           Alt Doc
0                                               16      7,687,572.00        1.47     7.239     3.302      677     79.39    81.26          80.84
110                                            294    117,723,685.86      22.53      7.153     3.060      711     76.74    77.35          33.92
125                                            944    397,034,759.97      76.00      7.037     2.994      718     75.31    75.67          15.35
Total:                                       1,254 522,446,017.83       100.00      7.066     3.014       716    75.70    76.13          20.50



                                                    Periodic Payment Cap of the Mortgage Loans
                                                                       % of Pool Weighted Weighted               Weighted Weighted
                                                                           by      Average Average Weighted Average Average
                                         Number         Principal      Principal    Gross      Gross    Average Original Combined     % Full
               Periodic Payment Cap      of Loans        Balance       Balance      Coupon     Margin    FICO     LTV      LTV        Alt Doc
0                                                16       7,687,572.00        1.47     7.239      3.302      677     79.39    81.26       80.84
7.5                                           1,238     514,758,445.83       98.53     7.064      3.009      716     75.64    76.05       19.60
Total:                                       1,254 522,446,017.83         100.00      7.066      3.014       716    75.70    76.13       20.50



                                                  Original Loan-to-Value of the Mortgage Loans
                                                                      % of Pool Weighted Weighted                Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                         Number        Principal      Principal     Gross      Gross    Average Original Combined     % Full
                  Original LTV           of Loans       Balance        Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
50.00% or less                                  49      16,853,313.00        3.23      6.734      2.819      735     43.18    44.51        0.79
50.01% - 55.00%                                 37      21,895,376.00        4.19      6.991      2.960      720     52.22    53.41       11.33
55.01% - 60.00%                                 31      20,445,305.44        3.91      7.064      2.789      707     57.72    57.72        5.65
60.01% - 65.00%                                 48      21,710,119.39        4.16      6.526      2.820      703     63.12    63.51        2.95
65.01% - 70.00%                                 75      53,087,904.24      10.16       6.985      2.904      707     68.85    69.15       14.46
70.01% - 75.00%                                225      97,813,680.22      18.72       6.932      2.964      704     74.12    74.34       12.48
75.01% - 80.00%                                509     196,170,320.76      37.55       6.999      2.885      723     79.50    80.17       21.57
80.01% - 85.00%                                 22       7,544,796.00        1.44      7.514      3.402      710     84.33    84.33       22.29
85.01% - 90.00%                                168      61,438,113.98      11.76       7.583      3.534      716     89.60    89.60       22.53
90.01% - 95.00%                                 40      11,588,617.35        2.22      7.306      3.215      694     94.57    94.57       95.49
95.01% - 100.00%                                50      13,898,471.45        2.66      7.912      3.866      738     99.92    99.92      100.00
Total:                                       1,254 522,446,017.83        100.00       7.066      3.014       716    75.70    76.13       20.50


                                                DESCRIPTION OF THE GROUP I COLLATERAL



                                                 Geographical Distribution of the Mortgage Loans
                                                                      % of Pool Weighted Weighted                Weighted Weighted
                                                                          by       Average Average Weighted Average Average
                                         Number        Principal      Principal     Gross      Gross    Average Original Combined     % Full
             Geographical Distribution   of Loans      Balance         Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
California                                     473    228,566,263.25        43.75       7.035     2.987      715     75.29    75.81       11.55
Florida                                        248      84,799,705.22       16.23       7.196     3.048      722     76.66     76.8       16.77
New York                                        35      32,824,244.31        6.28       6.817     2.800      705     66.12    67.17       17.38
Virginia                                        40      20,277,246.11        3.88       7.065     3.256      694     78.68    79.98       39.93
Arizona                                         61      19,327,796.55        3.70       7.051     3.014      725     76.52    76.52       22.68
Other                                          397    136,650,762.39        26.16       7.101     3.053      717     77.52    77.77       35.34
Total:                                       1,254 522,446,017.83        100.00        7.066     3.014       716    75.70    76.13       20.50



                                                California Loan Breakdown of the Mortgage Loans
                                                                      % of Pool Weighted Weighted              Weighted Weighted
                                                                         by       Average Average Weighted Average Average
                                         Number        Principal      Principal    Gross     Gross    Average Original Combined       % Full
        California Loan Breakdown        of Loans       Balance       Balance     Coupon     Margin    FICO     LTV      LTV          Alt Doc
Northern CA                                    305     148,556,735.58     28.43       6.996     2.994      720     74.88    75.40          9.59
Southern CA                                    168      80,009,527.67     15.31       7.106     2.973      707     76.04    76.57         15.20
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State not in CA                        781        293,879,754.58     56.25     7.091     3.035      716       76.01     76.38       27.46
Total:                               1,254      522,446,017.83     100.00     7.066     3.014       716      75.70     76.13       20.50


                                          DESCRIPTION OF THE GROUP I COLLATERAL



                                                Top 10 Zip Codes of the Mortgage Loans
                                                                 % of Pool Weighted Weighted              Weighted Weighted
                                                                      by      Average Average Weighted Average Average
                                  Number          Principal      Principal     Gross    Gross    Average Original Combined      % Full
              Top 10 Zip Codes    of Loans         Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
29451                                      4        4,906,200.00         0.94     7.611    3.179      734     76.33    76.33        54.45
94549                                      3        4,615,000.00         0.88     5.698    2.967      727     63.64    63.64         0.00
02891                                      2        4,610,000.00         0.88     7.548    3.116      786     51.87    51.87         0.00
11024                                      1        3,500,000.00         0.67     7.557    3.125      699     57.38    57.38         0.00
11968                                      3        3,468,000.00         0.66     7.216    2.784      698     75.69    75.69       100.00
34108                                      4        3,426,925.00         0.66     7.341    2.909      686     69.86    69.86         0.00
22066                                      2        3,265,000.00         0.62     7.276    2.844      653     62.13    62.13         0.00
22102                                      1        3,254,000.00         0.62     7.957    3.525      644     73.95    78.37       100.00
10021                                      2        3,160,821.00         0.61     7.934    3.502      709     55.34    55.34        11.67
27927                                      2        3,100,000.00         0.59     7.812     3.38      777     67.51    67.51         0.00
Other                                  1,230      485,140,071.83       92.86      7.045    3.005      716     76.49    76.93        20.06
Total:                                1,254     522,446,017.83       100.00      7.066    3.014       716    75.70    76.13        20.50


                                                   FICO Scores of the Mortgage Loans
                                                                 % of Pool Weighted Weighted             Weighted Weighted
                                                                     by      Average Average Weighted Average Average
                                  Number          Principal      Principal    Gross    Gross    Average Original Combined       % Full
                  FICO Scores     of Loans         Balance       Balance     Coupon    Margin    FICO     LTV      LTV          Alt Doc
600 or less or not available              3           666,710.00        0.13     7.761    3.329        0     97.54    97.54        100.00
601 - 620                                 4         1,402,377.00        0.27     7.363    2.931      611     66.87    66.87         30.48
621 - 640                                47        15,342,044.33        2.94     7.242    2.894      633     70.53    70.77         40.38
641 - 660                                89        36,097,113.20        6.91     7.118    2.970      651     73.90    74.62         28.83
661 - 680                               170        74,241,054.64      14.21      7.130    2.978      671     75.97    76.42         13.31
681 - 700                               212        98,029,722.98      18.76      6.810    2.970      691     75.24    75.43         19.18
701 - 720                               171        69,521,012.28      13.31      7.122    3.064      711     77.15    77.68         20.20
721 - 740                               175        73,155,711.51      14.00      7.105    3.018      730     76.77    77.14         21.30
741 - 760                               129        50,826,426.73        9.73     7.039    3.120      751     77.70    78.59         25.21
761 greater than or equal to            254       103,163,845.16      19.75      7.158    3.023      783     74.57    74.92         17.73
Total:                                1,254     522,446,017.83      100.00      7.066    3.014       716    75.70    76.13         20.50


                                          DESCRIPTION OF THE GROUP I COLLATERAL



                                               Mortgage Properties of the Mortgage Loans
                                                                 % of Pool Weighted Weighted               Weighted Weighted
                                                                     by       Average Average Weighted Average Average
                                  Number          Principal      Principal     Gross     Gross    Average Original Combined     % Full
            Mortgage Properties   of Loans         Balance        Balance     Coupon     Margin    FICO     LTV      LTV        Alt Doc
PUD                                     285       118,590,415.16       22.70      6.984     3.054      716     78.61    78.93       25.04
Condominium                             175        58,583,608.63       11.21      7.345     3.124      726     77.56    77.66       18.73
Coop                                      3         1,711,000.00        0.33      7.157     2.725      678     78.91    78.91      100.00
Single Family                           722       319,749,276.22       61.20      7.061     2.969      714     74.57     75.1       18.67
Two- to Four Family                      69        23,811,717.82        4.56      6.859     3.159      717     71.47    72.00       21.09
Total:                                1,254     522,446,017.83      100.00       7.066     3.014       716    75.70    76.13       20.50



                                                Occupancy Types of the Mortgage Loans
                                                                 % of Pool Weighted Weighted            Weighted Weighted
                                                                    by      Average Average Weighted Average Average
                                  Number          Principal      Principal   Gross    Gross    Average Original Combined        % Full
              Occupancy Types     of Loans        Balance        Balance     Coupon   Margin    FICO     LTV      LTV           Alt Doc
Investor                                313        96,918,171.60      18.55     7.253    3.221      727     74.05    74.17          21.32
Primary                                 844      393,101,358.55       75.24     6.980    2.954      712     75.60    76.13          20.49
Secondary                                97        32,426,487.68       6.21     7.549    3.117      728     81.78    81.94          18.21
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Total:                                     1,254     522,446,017.83   100.00     7.066      3.014      716      75.70      76.13       20.50



                                                      Loan Purpose of the Mortgage Loans
                                                                      % of Pool Weighted Weighted            Weighted Weighted
                                                                          by     Average Average Weighted Average Average
                                        Number         Principal      Principal   Gross    Gross    Average Original Combined       % Full
               Loan Purpose             of Loans        Balance       Balance    Coupon    Margin    FICO     LTV      LTV          Alt Doc
Purchase                                      404      153,599,760.15      29.40     7.340    3.176      730     83.16    83.57         28.51
Refinance - Rate Term                         208       86,827,344.19      16.62     6.982    3.146      703     78.77    80.01         18.81
Refinance - Cashout                           642      282,018,913.49      53.98     6.943    2.884      712     70.68    70.88         16.66
Total:                                      1,254    522,446,017.83      100.00     7.066    3.014       716    75.70    76.13         20.50


                                                DESCRIPTION OF THE GROUP I COLLATERAL



                                                      Document Type of the Mortgage Loans
                                                                      % of Pool Weighted Weighted             Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number         Principal      Principal    Gross    Gross    Average Original Combined      % Full
              Document Type             of Loans        Balance       Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
Full                                          325      107,104,944.29      20.50      7.246    3.134      713     82.51    82.97       100.00
Reduced                                       811      373,790,275.32      71.55      7.013    2.994      718     75.09    75.51         0.00
Stated Doc                                    118       41,550,798.22        7.95     7.081    2.882      704     63.62    64.04         0.00
Total:                                      1,254    522,446,017.83      100.00      7.066    3.014       716    75.70    76.13        20.50



                                                      Recast Period of the Mortgage Loans
                                                                      % of Pool Weighted Weighted             Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number         Principal      Principal    Gross    Gross    Average Original Combined      % Full
               Recast Period            of Loans        Balance        Balance    Coupon    Margin    FICO     LTV      LTV         Alt Doc
0                                               16       7,687,572.00        1.47     7.239    3.302      677     79.39    81.26        80.84
60                                           1,238     514,758,445.83      98.53      7.064    3.009      716     75.64    76.05        19.60
Total:                                      1,254    522,446,017.83      100.00      7.066    3.014       716    75.70    76.13        20.50



                                           First Payment Adjustment (Months) of the Mortgage Loans
                                                                     % of Pool Weighted Weighted               Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number        Principal      Principal    Gross      Gross    Average Original Combined     % Full
    First Payment Adjustment (Months)   of Loans      Balance        Balance      Coupon    Margin     FICO     LTV      LTV        Alt Doc
1                                               16      7,687,572.00        1.47      7.239     3.302      677     79.39    81.26       80.84
12                                           1,041   447,789,071.30       85.71       7.024     3.010      717     75.56    75.94       18.94
60                                             197     66,969,374.53      12.82       7.327     3.006      710     76.16    76.78       24.04
Total:                                      1,254 522,446,017.83        100.00       7.066     3.014       716    75.70    76.13       20.50
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                               DESCRIPTION OF THE GROUP II COLLATERAL

                                         SUMMARY - GROUP II
                                                                                                    W.A. Remaining
Number of Mortgage Loans:                                                                     1,517 Term (Months):         430
Aggregate Principal Balance:                                                                              Range           359 -
                                                                                  $519,219,961.89(Months):                 480
Average Principal Balance:                                                                          W.A. Seasoning
                                                                                      $342,267.61 (Months):                  0
        Range:                                                                                            Range
                                                                        $38,400.00 - $3,500,000.00(Months):                0-1
Original W.A. Coupon:                                                                      1.375%
         Range:                                                                           1.000% - California
                                                                                           5.900% Concentration:       37.72%
Gross W.A. Coupon:                                                                         7.355% W.A. Original LTV: 77.04%
       Range:                                                                             1.000% -        Range:      19.57% -
                                                                                           9.192%                     100.00%
Net W.A. Coupon:                                                                                    Percentage LTV >
                                                                                           6.629% 80% & no MI:          0.00%
Gross Margin:                                                                                       W.A. Months to           1
                                                                                           3.635% Roll:
        Range:                                                                            2.070% -        Range
                                                                                           4.760%(Months):                 1-6
Net Margin:                                                                                         Documentation
                                                                                           2.908% Status:
W.A. Gross Max Rate:                                                                      10.096%         Full:        16.17%
        Range:                                                                            7.500% -        Other:
                                                                                          12.950%                      83.83%
W.A. Net Max Rate:                                                                         9.370% Interest Only Loans: 0.36%
                                                                                                    Non-Zero W.A.          706
                                                                                                    FICO Score:
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                                            DESCRIPTION OF THE GROUP II COLLATERAL


                                                             Amortization Type
                                                                  % of Pool Weighted Weighted              Weighted Weighted
                                                                      by       Average Average Weighted Average Average
                                    Number         Principal      Principal     Gross    Gross    Average Original Combined      % Full
            Amortization Type       of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
Interest Only                                5       1,891,513.00        0.36      6.480    3.673      680     83.44    86.35         0.00
Negative Amortizing                      1,512     517,328,448.89      99.64       7.359    3.635      706     77.02    77.23        16.23
Total:                                  1,517    519,219,961.89      100.00       7.355    3.635       706    77.04    77.27        16.17


                                              Prepayment Penalty Type of the Mortgage Loans
                                                                  % of Pool Weighted Weighted               Weighted Weighted
                                                                      by      Average Average Weighted Average Average
                                    Number         Principal      Principal    Gross      Gross    Average Original Combined     % Full
          Prepayment Penalty Type   of Loans        Balance       Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
36 mo - HARD                             1,517     519,219,961.89     100.00      7.355      3.635      706     77.04    77.27       16.17
Total:                                  1,517 519,219,961.89         100.00      7.355      3.635       706    77.04    77.27       16.17


                                                  Loan Servicers of the Mortgage Loans
                                                                  % of Pool Weighted Weighted             Weighted Weighted
                                                                      by     Average Average Weighted Average Average
                                    Number         Principal      Principal   Gross     Gross    Average Original Combined       % Full
              Loan Servicers        of Loans        Balance       Balance     Coupon    Margin    FICO     LTV      LTV          Alt Doc
AHM                                      1,517     519,219,961.89     100.00      7.355    3.635      706     77.04    77.27         16.17
Total:                                  1,517    519,219,961.89      100.00      7.355    3.635       706    77.04    77.27         16.17
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                                              DESCRIPTION OF THE GROUP II COLLATERAL



                                               Current Principal Balance of the Mortgage Loans
                                                                   % of Pool Weighted Weighted                 Weighted Weighted
                                                                        by       Average Average Weighted Average Average
                                      Number        Principal       Principal     Gross     Gross     Average Original Combined      % Full
          Current Principal Balance   of Loans       Balance        Balance      Coupon    Margin      FICO     LTV      LTV         Alt Doc
$50,000.00 or less                            4         176,200.00         0.03      8.219      3.787      722     76.68    76.68        72.30
$50,000.01 - $100,000.00                     52       4,371,124.87         0.84      7.129      3.552      713     68.20    68.20        34.29
$100,000.01 - $150,000.00                   130      16,761,267.54         3.23      7.517      3.615      706     74.86    74.86        35.28
$150,000.01 - $200,000.00                   208      37,233,799.86         7.17      7.391      3.578      709     75.52    75.60        22.45
$200,000.01 - $250,000.00                   217      48,807,763.37         9.40      7.536      3.662      705     76.57    76.77        22.33
$250,000.01 - $300,000.00                   204      56,062,313.30       10.80       7.247      3.607      705     77.27    77.44        20.03
$300,000.01 - $350,000.00                   148      48,062,210.61         9.26      7.766      3.762      706     79.54    79.68        21.75
$350,000.01 - $400,000.00                   139      52,539,194.25       10.12       7.459      3.590      702     77.47    77.53        14.40
$400,000.01 - $450,000.00                   115      49,444,138.34         9.52      7.301      3.648      705     78.40    78.65        15.74
$450,000.01 - $500,000.00                    65      30,955,854.06         5.96      7.092      3.709      713     80.12    80.59        23.26
$500,000.01 - $700,000.00                   148      85,694,989.36       16.50       7.420      3.702      705     78.56    78.96         7.46
$700,000.01 - $900,000.00                    42      33,320,262.00         6.42      7.131      3.435      712     74.56    74.56         6.83
$900,000.01 - $1,000,000.00                  20      19,595,248.00         3.77      6.272      3.582      705     75.50    75.78         0.00
$1,000,000.01 - $1,100,000.00                 5       5,200,226.39         1.00      8.020      3.617      699     72.96    74.02        20.19
$1,100,000.01 or more                        20      30,995,369.94         5.97      7.338      3.579      709     71.95    72.33        10.32
Total:                                    1,517 519,219,961.89         100.00       7.355      3.635       706    77.04    77.27        16.17


                                                   Original Gross Rate of the Mortgage Loans
                                                                    % of Pool Weighted Weighted                Weighted Weighted
                                                                        by       Average Average Weighted Average        Average
                                      Number         Principal      Principal     Gross      Gross    Average Original Combined      % Full
             Original Gross Rate      of Loans        Balance        Balance     Coupon      Margin    FICO     LTV       LTV        Alt Doc
0.501% - 1.000%                             797      284,695,368.02       54.83      7.303      3.429      702     73.80     74.09        8.00
1.001% - 1.500%                             244       73,517,116.92       14.16      7.487      3.827      713     76.37     76.54       30.48
1.501% - 2.000%                             330      113,097,625.66       21.78      7.091      3.801      706     80.72     80.72        9.99
2.001% - 2.500%                             100       33,170,416.29        6.39      8.031      4.096      727     87.79     88.15       67.78
2.501% - 3.000%                              20        7,841,115.00        1.51      8.354      4.367      704     88.05     88.05        0.00
3.001% - 3.500%                              21        4,947,720.00        0.95      8.732      4.518      743     97.92     97.92       86.86
3.501% - 4.000%                               2          691,000.00        0.13      7.663      3.231      686    100.00    100.00      100.00
5.001% - 5.500%                               2          937,600.00        0.18      5.500      3.892      740     76.85     83.94        0.00
5.501% - 6.000%                               1          322,000.00        0.06      5.900      4.100      704     64.53     64.53        0.00
Total:                                    1,517    519,219,961.89      100.00       7.355      3.635       706    77.04     77.27       16.17


                                              DESCRIPTION OF THE GROUP II COLLATERAL



                                                   Current Gross Rate of the Mortgage Loans
                                                                    % of Pool Weighted Weighted               Weighted Weighted
                                                                        by      Average Average Weighted Average        Average
                                       Number        Principal      Principal    Gross      Gross    Average Original Combined       % Full
             Current Gross Rate       of Loans        Balance       Balance      Coupon     Margin    FICO     LTV       LTV         Alt Doc
0.501% - 1.000%                               64      23,195,982.00        4.47     1.000      3.393      701     72.40     72.87         5.68
1.001% - 1.500%                               17       8,138,558.97        1.57     1.359      3.894      679     77.64     77.64        18.74
1.501% - 2.000%                               58      20,912,698.00        4.03     1.846      3.592      704     78.26     78.26         5.77
2.001% - 2.500%                               10       2,635,650.00        0.51     2.387      4.192      706     90.59     90.59        68.21
2.501% - 3.000%                                2         624,000.00        0.12     2.525      3.681      673     89.65     89.65         0.00
3.001% - 3.500%                                1         188,000.00        0.04     3.400      4.690      720    100.00    100.00       100.00
5.001% - 5.500%                                2         937,600.00        0.18     5.500      3.892      740     76.85     83.94         0.00
5.501% - 6.000%                                1         322,000.00        0.06     5.900      4.100      704     64.53     64.53         0.00
6.501% - 7.000%                               16       7,131,983.00        1.37     6.845      2.413      719     77.22     77.62        12.77
7.001% or more                             1,346     455,133,489.92       87.66     8.090      3.659      707     77.11     77.32        16.92
Total:                                    1,517    519,219,961.89      100.00      7.355      3.635       706    77.04     77.27        16.17


                                                     Gross Margin of the Mortgage Loans
                                                                   % of Pool Weighted Weighted               Weighted Weighted
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                                                                         by      Average Average Weighted Average Average
                                       Number         Principal      Principal    Gross    Gross    Average Original Combined       % Full
               Gross Margin            of Loans        Balance       Balance     Coupon    Margin    FICO    LTV       LTV          Alt Doc
2.001% - 2.250%                                1          760,000.00        0.15     6.502    2.070      773    62.04    62.04           0.00
2.251% - 2.500%                               15        6,026,983.00        1.16     6.168    2.427      703    79.41    79.89          15.12
2.501% - 2.750%                               13        4,806,614.00        0.93     6.178    2.659      720    73.34    73.34          15.22
2.751% - 3.000%                               68       21,349,054.36        4.11     6.451    2.882      724    74.38    74.49          12.66
3.001% - 3.250%                              146       50,805,992.69        9.79     6.940    3.161      716    74.90    74.98          10.95
3.251% - 3.500%                              365      111,256,736.51      21.43      7.020    3.432      706    74.02    74.13          10.00
3.501% - 3.750%                              447      172,369,219.09      33.20      7.321    3.586      698    74.50    74.76          12.01
3.751% - 4.000%                              193       60,607,674.93      11.67      7.809    3.863      698    74.41    75.13          12.93
4.001% - 4.250%                               87       27,136,911.64        5.23     7.564    4.145      708    83.56    83.81          50.66
4.251% - 4.500%                               72       24,740,753.76        4.76     7.850    4.383      714    90.07    90.07          32.17
4.501% - 4.750%                              108       38,220,621.91        7.36     8.653    4.599      726    92.75    92.75          33.15
4.751% - 5.000%                                2        1,139,400.00        0.22     9.192    4.760      680    90.00    90.00           0.00
Total:                                     1,517    519,219,961.89      100.00      7.355    3.635       706   77.04    77.27          16.17


                                               DESCRIPTION OF THE GROUP II COLLATERAL



                                              Remaining Months to Maturity of the Mortgage Loans
                                                                    % of Pool Weighted Weighted                Weighted Weighted
                                                                        by       Average Average Weighted Average Average
                                       Number        Principal      Principal     Gross     Gross     Average Original Combined     % Full
        Remaining Months to Maturity   of Loans       Balance       Balance      Coupon     Margin     FICO     LTV      LTV        Alt Doc
356 - 360                                    686     218,346,829.34      42.05       7.175      3.526      710     75.76    75.94       15.97
361 or more                                  831     300,873,132.55      57.95       7.486      3.714      704     77.97    78.23       16.31
Total:                                     1,517 519,219,961.89        100.00       7.355      3.635       706    77.04    77.27       16.17


                                                        Seasoning of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                       Number         Principal       Principal    Gross    Gross    Average Original Combined      % Full
                Seasoning              of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
0                                           1,469     502,507,113.40       96.78      7.327    3.630      706     76.98    77.21        15.78
1-6                                            48      16,712,848.49         3.22     8.204    3.772      707     78.91    78.91        27.82
Total:                                     1,517    519,219,961.89       100.00      7.355    3.635       706    77.04    77.27        16.17


                                                      Months to Roll of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                       Number         Principal       Principal    Gross    Gross    Average Original Combined      % Full
              Months to Roll           of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
1                                           1,514     517,960,361.89       99.76      7.360    3.634      706     77.05    77.26        16.21
6                                               3       1,259,600.00         0.24     5.602    3.945      731     73.70    78.98         0.00
Total:                                     1,517    519,219,961.89       100.00      7.355    3.635       706    77.04    77.27        16.17


                                               DESCRIPTION OF THE GROUP II COLLATERAL



                                               Gross Lifetime Maximum Rate of the Mortgage Loans
                                                                      % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                       Number         Principal       Principal    Gross    Gross     Average Original Combined     % Full
       Gross Lifetime Maximum Rate     of Loans        Balance        Balance     Coupon    Margin     FICO     LTV      LTV        Alt Doc
7.001% - 7.500%                                 1          900,000.00        0.17     7.882     3.450      670     75.00    75.00        0.00
9.501% - 10.000%                            1,038     372,849,415.67       71.81      7.117     3.444      703     74.00    74.31       10.30
10.001% - 10.500%                             199       51,605,804.55        9.94     7.758     3.783      714     73.06    73.06       11.82
10.501% - 11.000%                             277       93,379,341.67      17.98      8.080     4.319      717     91.40    91.40       42.02
12.001% or more                                 2          485,400.00        0.09     7.707     3.275      650     78.58    78.58       41.82
Total:                                     1,517 519,219,961.89          100.00      7.355     3.635       706    77.04    77.27       16.17



                                              Rate Adjustment Frequency of the Mortgage Loans
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                                                                       % of Pool Weighted Weighted Weighted Weighted Weighted
                                         Number         Principal          by     Average Average Average Average Average             % Full
          Rate Adjustment Frequency      of Loans        Balance       Principal   Gross    Gross    FICO   Original Combined         Alt Doc
                                                                       Balance    Coupon    Margin           LTV       LTV
1                                             1,517     519,219,961.89     100.00     7.355    3.635    706     77.04    77.27            16.17
Total:                                       1,517    519,219,961.89      100.00     7.355    3.635     706    77.04    77.27            16.17



                                               Payment Adjustment Frequency of the Mortgage Loans
                                                                      % of Pool Weighted Weighted               Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                         Number        Principal      Principal    Gross      Gross    Average Original Combined      % Full
         Payment Adjustment Frequency    of Loans       Balance       Balance      Coupon    Margin     FICO     LTV      LTV         Alt Doc
1                                                 5      1,891,513.00        0.36     6.480      3.673      680     83.44    86.35         0.00
12                                            1,512    517,328,448.89      99.64      7.359      3.635      706     77.02    77.23        16.23
Total:                                       1,517 519,219,961.89        100.00      7.355      3.635       706    77.04    77.27        16.17


                                                 DESCRIPTION OF THE GROUP II COLLATERAL



                                                 Maximum Balance Amount of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                         Number       Principal      Principal    Gross     Gross    Average Original Combined        % Full
             Maximum Balance Amount      of Loans      Balance       Balance     Coupon    Margin     FICO     LTV      LTV           Alt Doc
0                                                 5     1,891,513.00        0.36     6.480     3.673      680     83.44    86.35           0.00
110                                             392   128,583,778.94      24.76      7.212     3.723      709     80.90    80.99          33.88
125                                           1,120   388,744,669.95      74.87      7.407     3.605      705     75.74    75.99          10.39
Total:                                       1,517 519,219,961.89       100.00      7.355     3.635       706    77.04    77.27          16.17



                                                    Periodic Payment Cap of the Mortgage Loans
                                                                       % of Pool Weighted Weighted               Weighted Weighted
                                                                           by      Average Average Weighted Average Average
                                         Number         Principal      Principal    Gross      Gross    Average Original Combined     % Full
               Periodic Payment Cap      of Loans        Balance       Balance      Coupon     Margin    FICO     LTV      LTV        Alt Doc
0                                                 5       1,891,513.00        0.36     6.480      3.673      680     83.44    86.35        0.00
7.5                                           1,512     517,328,448.89       99.64     7.359      3.635      706     77.02    77.23       16.23
Total:                                       1,517 519,219,961.89         100.00      7.355      3.635       706    77.04    77.27       16.17



                                                  Original Loan-to-Value of the Mortgage Loans
                                                                      % of Pool Weighted Weighted                Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                         Number        Principal      Principal     Gross      Gross    Average Original Combined     % Full
                  Original LTV           of Loans       Balance        Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
50.00% or less                                  78      18,885,128.81        3.64      7.245      3.491      713     42.92    42.92        6.23
50.01% - 55.00%                                 32       9,340,645.49        1.80      7.214      3.460      717     52.65    52.95        5.56
55.01% - 60.00%                                 40       9,768,492.00        1.88      7.278      3.547      712     58.00    58.33        5.81
60.01% - 65.00%                                 66      31,904,412.95        6.14      7.167      3.567      708     63.51    63.51        1.73
65.01% - 70.00%                                101      42,509,112.99        8.19      7.055      3.469      701     68.66    68.95        6.16
70.01% - 75.00%                                328     110,743,623.15      21.33       7.359      3.545      690     74.25    74.57        3.17
75.01% - 80.00%                                488     173,659,708.42      33.45       7.081      3.436      710     79.43    79.79       14.41
80.01% - 85.00%                                 24       6,994,410.12        1.35      8.085      4.125      714     83.74    83.74       29.66
85.01% - 90.00%                                243      83,267,752.50      16.04       7.815      4.081      711     89.43    89.43       19.84
90.01% - 95.00%                                 48      13,350,833.17        2.57      7.889      3.843      705     94.57    94.57       94.30
95.01% - 100.00%                                69      18,795,842.29        3.62      8.403      4.462      741     99.87    99.87      100.00
Total:                                       1,517 519,219,961.89        100.00       7.355      3.635       706    77.04    77.27       16.17


                                                 DESCRIPTION OF THE GROUP II COLLATERAL



                                                 Geographical Distribution of the Mortgage Loans
                                                                      % of Pool Weighted Weighted               Weighted Weighted
                                                                          by       Average Average Weighted Average Average
                                         Number        Principal      Principal     Gross      Gross   Average Original Combined      % Full
             Geographical Distribution   of Loans      Balance         Balance     Coupon     Margin    FICO     LTV      LTV         Alt Doc
California                                     472    195,861,787.03        37.72      7.299     3.641      702     74.86    75.18         8.72
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Florida                                   423       130,522,053.48     25.14    7.504     3.655      707       78.53      78.61       19.82
Virginia                                   88        32,231,826.38      6.21    6.983     3.609      713       79.11      79.21       19.62
Maryland                                   58        19,705,405.23      3.80    6.692     3.436      714       74.32      74.73       16.31
Arizona                                    58        18,452,060.73      3.55    7.630     3.702      712       78.78      79.13       11.40
Other                                     418       122,446,829.04     23.58    7.450     3.631      709       78.59      78.80       23.98
Total:                                  1,517     519,219,961.89     100.00    7.355     3.635       706      77.04      77.27       16.17



                                             California Loan Breakdown of the Mortgage Loans
                                                                   % of Pool Weighted Weighted               Weighted Weighted
                                                                       by      Average Average Weighted Average Average
                                     Number         Principal      Principal    Gross     Gross     Average Original Combined     % Full
         California Loan Breakdown   of Loans        Balance       Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
Northern CA                                 254     105,520,551.41      20.32      7.461      3.678      704     75.92    76.34        6.88
Southern CA                                 218      90,341,235.62      17.40      7.110      3.598      699     73.62    73.82       10.87
State not in CA                           1,045     323,358,174.86      62.28      7.389      3.631      709     78.37    78.53       20.68
Total:                                   1,517 519,219,961.89         100.00      7.355      3.635       706    77.04    77.27       16.17


                                             DESCRIPTION OF THE GROUP II COLLATERAL



                                                  Top 10 Zip Codes of the Mortgage Loans
                                                                   % of Pool Weighted Weighted              Weighted Weighted
                                                                        by      Average Average Weighted Average Average
                                     Number         Principal      Principal     Gross    Gross    Average Original Combined      % Full
              Top 10 Zip Codes       of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
34746                                        21       6,257,720.00         1.21     8.648    4.216      749     86.61    86.61         9.19
92660                                         1       3,500,000.00         0.67     7.957    3.525      801     64.81    64.81         0.00
34239                                         1       3,250,000.00         0.63     8.357    3.925      729     65.00    65.00         0.00
33411                                         7       2,652,086.56         0.51     7.854    3.444      743     78.18    78.18        16.39
33064                                         5       2,562,250.00         0.49     8.232    3.800      743     79.07    79.07        73.37
33414                                         4       2,508,700.00         0.48     8.205    3.773      713     77.53    78.79        31.32
92592                                         4       2,436,585.94         0.47     5.764    3.418      684     71.18    71.18        11.29
92021                                         3       2,230,000.00         0.43     7.786    3.354      694     79.08    84.37        59.10
94565                                         6       2,110,350.00         0.41     8.021    3.589      680     77.08    77.08         0.00
94591                                         5       2,090,500.00         0.40     7.825    3.393      711     72.29    72.29         0.00
Other                                     1,460     489,621,769.39       94.30      7.317    3.629      705     77.11    77.32        16.07
Total:                                   1,517    519,219,961.89       100.00      7.355    3.635       706    77.04    77.27        16.17


                                                    FICO Scores of the Mortgage Loans
                                                                   % of Pool Weighted Weighted             Weighted Weighted
                                                                       by      Average Average Weighted Average Average
                                     Number         Principal      Principal    Gross    Gross    Average Original Combined       % Full
                  FICO Scores        of Loans       Balance        Balance     Coupon    Margin    FICO     LTV      LTV          Alt Doc
600 or less or not available                 1          163,413.00        0.03     7.402    2.970        0     80.00    80.00          0.00
601 - 620                                    6        1,417,900.00        0.27     8.041    3.609      618     75.70    75.70         28.40
621 - 640                                   88       25,764,218.36        4.96     7.752    3.611      631     72.94    73.16         25.85
641 - 660                                  162       55,245,959.96      10.64      6.606    3.549      650     71.52    71.68         12.78
661 - 680                                  260       97,318,812.42      18.74      7.305    3.625      670     77.40    77.73          5.96
681 - 700                                  236       78,504,608.22      15.12      7.396    3.667      690     79.02    79.26         15.56
701 - 720                                  220       73,068,073.53      14.07      7.500    3.747      710     80.21    80.52         21.26
721 - 740                                  164       59,272,291.65      11.42      7.547    3.617      731     77.30    77.50         14.05
741 - 760                                  132       44,883,914.27        8.64     7.696    3.673      750     78.34    78.51         23.29
761 greater than or equal to               248       83,580,770.48      16.10      7.293    3.577      780     76.06    76.16         20.91
Total:                                   1,517    519,219,961.89      100.00      7.355    3.635       706    77.04    77.27         16.17


                                             DESCRIPTION OF THE GROUP II COLLATERAL



                                               Mortgage Properties of the Mortgage Loans
                                                                 % of Pool Weighted Weighted               Weighted Weighted
                                                                     by       Average Average Weighted Average Average
                                     Number       Principal      Principal     Gross     Gross    Average Original Combined       % Full
            Mortgage Properties      of Loans      Balance        Balance     Coupon     Margin    FICO     LTV      LTV          Alt Doc
PUD                                        293    111,813,990.41       21.53      7.514     3.645      712     77.79    78.09         16.35
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Condominium                                   198       51,566,497.01      9.93   7.732     3.756       713      83.23      83.35       32.56
Coop                                           1           750,000.00      0.14    7.232     2.800     768       62.50      62.50        0.00
Single Family                                966       336,562,605.39     64.82    7.222     3.609     703       76.15      76.38       13.30
Two- to Four Family                           59        18,526,869.08      3.57    7.771     3.737     703       72.13      72.13       22.18
Total:                                     1,517     519,219,961.89     100.00    7.355     3.635      706      77.04      77.27       16.17



                                                     Occupancy Types of the Mortgage Loans
                                                                      % of Pool Weighted Weighted             Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number         Principal      Principal    Gross    Gross    Average Original Combined      % Full
              Occupancy Types           of Loans        Balance       Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
Investor                                       201      52,021,024.55      10.02      7.764    3.785      714     73.05    73.09        12.19
Primary                                      1,242     443,902,620.82      85.49      7.267    3.607      704     77.18    77.43        16.65
Secondary                                       74      23,296,316.52        4.49     8.137    3.828      724     83.43    83.43        15.82
Total:                                      1,517    519,219,961.89      100.00      7.355    3.635       706    77.04    77.27        16.17



                                                      Loan Purpose of the Mortgage Loans
                                                                      % of Pool Weighted Weighted            Weighted Weighted
                                                                          by     Average Average Weighted Average Average
                                        Number         Principal      Principal   Gross    Gross    Average Original Combined       % Full
               Loan Purpose             of Loans        Balance       Balance    Coupon    Margin    FICO     LTV      LTV          Alt Doc
Purchase                                      320      110,289,252.90      21.24     7.853    3.917      720     86.78    86.94         29.18
Refinance - Rate Term                         290      104,204,345.50      20.07     7.548    3.776      700     82.02    82.71         20.67
Refinance - Cashout                           907      304,726,363.49      58.69     7.109    3.484      703     71.82    71.90          9.92
Total:                                      1,517    519,219,961.89      100.00     7.355    3.635       706    77.04    77.27         16.17


                                                DESCRIPTION OF THE GROUP II COLLATERAL



                                                      Document Type of the Mortgage Loans
                                                                      % of Pool Weighted Weighted             Weighted Weighted
                                                                          by     Average Average Weighted Average Average
                                        Number         Principal      Principal   Gross     Gross    Average Original Combined      % Full
              Document Type             of Loans        Balance       Balance    Coupon     Margin    FICO     LTV      LTV         Alt Doc
Full                                          307       83,941,692.65      16.17      7.794    3.839      714     86.78    87.02       100.00
Reduced                                       913      348,421,053.42      67.10      7.252    3.606      708     77.20    77.47         0.00
Stated Doc                                    297       86,857,215.82      16.73      7.345    3.553      689     67.01    67.04         0.00
Total:                                      1,517    519,219,961.89      100.00      7.355    3.635       706    77.04    77.27        16.17



                                                      Recast Period of the Mortgage Loans
                                                                      % of Pool Weighted Weighted             Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number         Principal      Principal    Gross    Gross    Average Original Combined      % Full
               Recast Period            of Loans        Balance        Balance    Coupon    Margin    FICO     LTV      LTV         Alt Doc
0                                                5       1,891,513.00        0.36     6.480    3.673      680     83.44    86.35         0.00
60                                           1,512     517,328,448.89      99.64      7.359    3.635      706     77.02    77.23        16.23
Total:                                      1,517    519,219,961.89      100.00      7.355    3.635       706    77.04    77.27        16.17



                                           First Payment Adjustment (Months) of the Mortgage Loans
                                                                     % of Pool Weighted Weighted               Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number        Principal      Principal    Gross      Gross    Average Original Combined     % Full
    First Payment Adjustment (Months)   of Loans      Balance        Balance      Coupon    Margin     FICO     LTV      LTV        Alt Doc
1                                                5      1,891,513.00        0.36      6.480     3.673      680     83.44    86.35        0.00
12                                           1,246   432,013,966.42       83.20       7.325     3.636      706     76.71    76.93       14.04
60                                             266     85,314,482.47      16.43       7.528     3.626      708     78.61    78.75       27.30
Total:                                      1,517 519,219,961.89        100.00       7.355     3.635       706    77.04    77.27       16.17
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                               DESCRIPTION OF THE GROUP III COLLATERAL

                                         SUMMARY - GROUP III
                                                                                                     W.A. Remaining
Number of Mortgage Loans:                                                                       774 Term (Months):          420
Aggregate Principal Balance:                                                                      $        Range           356 -
                                                                                    335,416,513.83(Months):                 480
Average Principal Balance:                                                                           W.A. Seasoning
                                                                                       $433,354.67 (Months):                   0
        Range:                                                                                             Range
                                                                         $40,000.00 - $2,555,000.00(Months):                0-4
Original W.A. Coupon:                                                                       1.407%
         Range:                                                                            1.000% - California
                                                                                            8.140% Concentration:       38.51%
Gross W.A. Coupon:                                                                          7.065% W.A. Original LTV: 76.24%
       Range:                                                                              1.000% -        Range:      21.84% -
                                                                                            9.192%                     100.00%
Net W.A. Coupon:                                                                                     Percentage LTV >
                                                                                            6.338% 80% & no MI:          0.00%
Gross Margin:                                                                                        W.A. Months to            1
                                                                                            2.882% Roll:
        Range:                                                                             2.020% -        Range
                                                                                            4.760%(Months):               1 - 12
Net Margin:                                                                                          Documentation
                                                                                            2.155% Status:
W.A. Gross Max Rate:                                                                       10.107%         Full:        18.50%
        Range:                                                                             7.500% -        Other:
                                                                                           10.550%                      81.50%
W.A. Net Max Rate:                                                                         10.107% Interest Only Loans: 1.47%
                                                                                                     Non-Zero W.A.          716
                                                                                                     FICO Score:
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                                          DESCRIPTION OF THE GROUP III COLLATERAL


                                                           Amortization Type
                                                                % of Pool Weighted Weighted              Weighted Weighted
                                                                    by       Average Average Weighted Average Average
                                   Number        Principal      Principal     Gross    Gross    Average Original Combined      % Full
            Amortization Type      of Loans       Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
Interest Only                             13       4,919,200.00        1.47       6.35    3.029      714     74.58    78.93        35.44
Negative Amortizing                      761     330,497,313.83      98.53       7.076     2.88      716     76.26    76.77        18.25
Total:                                  774    335,416,513.83      100.00       7.065    2.882       716    76.24    76.80        18.50


                                            Prepayment Penalty Type of the Mortgage Loans
                                                                % of Pool Weighted Weighted               Weighted Weighted
                                                                    by      Average Average Weighted Average Average
                                    Number       Principal      Principal    Gross      Gross    Average Original Combined     % Full
         Prepayment Penalty Type   of Loans       Balance       Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
No Prepay                                774     335,416,513.83     100.00      7.065      2.882      716     76.24    76.80       18.50
Total:                                   774 335,416,513.83        100.00      7.065      2.882       716    76.24    76.80       18.50


                                                Loan Servicers of the Mortgage Loans
                                                                % of Pool Weighted Weighted             Weighted Weighted
                                                                    by     Average Average Weighted Average Average
                                   Number        Principal      Principal   Gross     Gross    Average Original Combined       % Full
              Loan Servicers       of Loans       Balance       Balance     Coupon    Margin    FICO     LTV      LTV          Alt Doc
AHM                                      774     335,416,513.83     100.00      7.065    2.882      716     76.24    76.80         18.50
Total:                                  774    335,416,513.83      100.00      7.065    2.882       716    76.24    76.80         18.50
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                                             DESCRIPTION OF THE GROUP III COLLATERAL



                                               Current Principal Balance of the Mortgage Loans
                                                                   % of Pool Weighted Weighted                 Weighted Weighted
                                                                        by       Average Average Weighted Average Average
                                       Number       Principal       Principal     Gross     Gross     Average Original Combined     % Full
          Current Principal Balance   of Loans       Balance        Balance      Coupon    Margin      FICO     LTV      LTV        Alt Doc
$50,000.00 or less                             4        178,225.00         0.05      7.615      3.183      746     81.89    81.89       48.03
$50,000.01 - $100,000.00                     11         891,297.51         0.27      7.467      3.035      719     72.46    72.46       65.52
$100,000.01 - $150,000.00                    44       5,628,250.50         1.68      6.669      2.923      723     77.98    78.23       45.71
$150,000.01 - $200,000.00                    78      14,040,647.39         4.19      6.987       2.86      722     76.27    76.53       32.43
$200,000.01 - $250,000.00                    98      22,345,813.07         6.66      7.157      2.966      723     78.27    78.45       34.69
$250,000.01 - $300,000.00                    94      26,202,293.83         7.81      7.077       2.85      713     77.69    78.10       24.63
$300,000.01 - $350,000.00                    76      24,736,560.42         7.37      7.218      2.968      711     79.27    79.40       32.15
$350,000.01 - $400,000.00                    63      23,871,312.94         7.12      7.059      2.995      723     79.62    79.62       20.27
$400,000.01 - $450,000.00                    60      25,724,040.21         7.67       7.19      2.959      712     79.29    79.45       24.57
$450,000.01 - $500,000.00                    52      24,846,690.00         7.41      6.843      2.929      714     79.66    80.49       13.14
$500,000.01 - $700,000.00                   106      62,674,303.05       18.69       7.113      2.918      718     78.52    79.17       12.69
$700,000.01 - $900,000.00                    23      18,470,930.53         5.51       7.07      2.807      732     78.18    78.66       21.64
$900,000.01 - $1,000,000.00                  20      19,417,300.90         5.79      7.168      2.736      714     76.85    76.85        5.02
$1,000,000.01 - $1,100,000.00                  7      7,456,750.00         2.22      6.965      2.533      743     61.27    61.27        0.00
$1,100,000.01 or more                        38      58,932,098.48       17.57       6.977      2.805      706     67.92    69.48        8.06
Total:                                      774 335,416,513.83         100.00       7.065      2.882       716    76.24    76.80       18.50


                                                  Original Gross Rate of the Mortgage Loans
                                                                   % of Pool Weighted Weighted                Weighted Weighted
                                                                       by       Average Average Weighted Average        Average
                                      Number        Principal      Principal     Gross      Gross    Average Original Combined      % Full
             Original Gross Rate      of Loans       Balance        Balance     Coupon      Margin    FICO     LTV       LTV        Alt Doc
0.501% - 1.000%                             325     161,122,670.92       48.04      6.716      2.636      718     73.98     74.67       12.64
1.001% - 1.500%                             198      81,732,591.43       24.37      7.433      3.047      717     73.69     74.20       21.61
1.501% - 2.000%                             156      59,592,216.50       17.77      7.417      3.143      710     80.81     81.11       17.57
2.001% - 2.500%                              60      18,363,732.07        5.47       7.52      3.247      730     87.27     87.27       68.57
2.501% - 3.000%                              24      10,621,594.91        3.17      7.093      3.213      707     83.93     85.59        0.00
3.001% - 3.500%                               3         595,608.00        0.18      8.148      3.716      753    100.00    100.00      100.00
4.501% - 5.000%                               2       1,063,750.00        0.32       4.95      2.757      750     73.63     73.63        0.00
5.001% - 5.500%                               1         741,600.00        0.22         5.5      2.85      680     80.00     80.00        0.00
5.501% - 6.000%                               1         475,000.00        0.14       5.95        2.7      648     69.34     69.34        0.00
6.001% - 6.500%                               2         733,000.00        0.22         6.5      2.68      740     70.46     70.46        0.00
7.001% or more                                2         374,750.00        0.11      8.052      4.012      760    100.00    100.00      100.00
Total:                                     774    335,416,513.83      100.00       7.065      2.882       716    76.24     76.80       18.50


                                             DESCRIPTION OF THE GROUP III COLLATERAL



                                                  Current Gross Rate of the Mortgage Loans
                                                                   % of Pool Weighted Weighted                Weighted Weighted
                                                                       by      Average Average Weighted Average Average
                                      Number        Principal      Principal    Gross      Gross     Average Original Combined      % Full
             Current Gross Rate       of Loans       Balance       Balance      Coupon     Margin     FICO     LTV      LTV         Alt Doc
0.501% - 1.000%                              21       9,247,670.00        2.76           1       2.7      711     73.63    73.63         5.44
1.001% - 1.500%                               3         609,000.00        0.18      1.436     3.255       694     86.61    86.61       100.00
1.501% - 2.000%                               6       1,625,000.00        0.48      1.784     3.143       683     80.06    80.06         0.00
2.001% - 2.500%                               2         527,050.00        0.16      2.424     3.521       690     89.71    89.71        62.01
2.501% - 3.000%                               2       1,003,500.00        0.30      2.525     3.934       685     90.00    90.00         0.00
4.501% - 5.000%                               2       1,063,750.00        0.32       4.95     2.757       750     73.63    73.63         0.00
5.001% - 5.500%                               1         741,600.00        0.22         5.5     2.85       680     80.00    80.00         0.00
5.501% - 6.000%                               1         475,000.00        0.14       5.95        2.7      648     69.34    69.34         0.00
6.001% - 6.500%                               2         733,000.00        0.22         6.5     2.68       740     70.46    70.46         0.00
6.501% - 7.000%                             101      45,313,237.42       13.51      6.855     2.423       714     73.05    73.65        15.38
7.001% or more                              633     274,077,706.41       81.71       7.39     2.958       717     76.76    77.35        19.57
Total:                                     774    335,416,513.83      100.00       7.065     2.882        716    76.24    76.80        18.50
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                                            Gross Margin of the Mortgage Loans
                                                           % of Pool Weighted Weighted             Weighted Weighted
                                                               by      Average Average Weighted Average      Average
                              Number        Principal      Principal    Gross    Gross    Average Original Combined      % Full
               Gross Margin   of Loans       Balance       Balance     Coupon    Margin    FICO     LTV       LTV        Alt Doc
2.001% - 2.250%                       7       2,993,236.00        0.89     5.949    2.182      701     58.41     58.41       40.46
2.251% - 2.500%                      90      41,314,871.42      12.32      6.699     2.43      717     74.13     74.80       11.93
2.501% - 2.750%                     281     130,530,820.91      38.92      6.823    2.655      719     74.35     74.53       13.21
2.751% - 3.000%                     157      68,528,371.60      20.43      7.024    2.896      710     73.31     74.21       18.20
3.001% - 3.250%                      87      32,174,313.00        9.59     7.526    3.129      721     74.38     75.81       23.91
3.251% - 3.500%                      61      26,329,037.91        7.85     7.459    3.363      712     81.44     82.48       34.79
3.501% - 3.750%                      65      22,610,229.99        6.74     7.858    3.647      719     90.31     90.39       21.87
3.751% - 4.000%                      21       9,318,784.00        2.78     8.069    3.846      723     94.08     94.08       42.70
4.001% - 4.250%                       2         389,849.00        0.12     8.282    4.075      702     94.23     94.23       42.29
4.251% - 4.500%                       1         387,000.00        0.12     2.525     4.45      679     90.00     90.00        0.00
4.501% - 4.750%                       1         263,000.00        0.08     9.122     4.69      762    100.00    100.00      100.00
4.751% - 5.000%                       1         577,000.00        0.17     9.192     4.76      660     88.77     88.77        0.00
Total:                             774    335,416,513.83      100.00      7.065    2.882       716    76.24     76.80       18.50
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                                               DESCRIPTION OF THE GROUP III COLLATERAL


                                              Remaining Months to Maturity of the Mortgage Loans
                                                                   % of Pool Weighted Weighted             Weighted Weighted
                                                                      by         Average Average Weighted Average Average
                                        Number       Principal     Principal      Gross     Gross  Average Original Combined        % Full
                                        of Loans      Balance       Balance      Coupon     Margin  FICO    LTV       LTV           Alt Doc
        Remaining Months to Maturity
356 - 360                                    377      166,259,223.44     49.57    7.064     2.834      714       74.19      74.96       17.32
361 or more                                  397      169,157,290.39     50.43    7.067      2.93      719       78.25      78.61       19.66
Total:                                       774    335,416,513.83     100.00    7.065     2.882       716      76.24      76.80       18.50


                                                        Seasoning of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number        Principal       Principal    Gross    Gross    Average Original Combined      % Full
                  Seasoning             of Loans       Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
0                                             758     329,060,092.58       98.10      7.062    2.884      717     76.25    76.82        18.32
1-6                                            16       6,356,421.25         1.90     7.252     2.82      693     75.70    75.70        27.83
Total:                                       774    335,416,513.83       100.00      7.065    2.882       716    76.24    76.80        18.50


                                                      Months to Roll of the Mortgage Loans
                                                                     % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number        Principal       Principal    Gross    Gross    Average Original Combined      % Full
                Months to Roll          of Loans       Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
1                                             766     332,028,413.83       98.99      7.077    2.882      716     76.23    76.80        18.58
3                                               2         684,900.00         0.20     6.621    3.095      680     78.74    78.74        30.65
6                                               4       1,639,450.00         0.49     6.192    2.894      716     77.75    77.75        10.06
12                                              2       1,063,750.00         0.32      4.95    2.757      750     73.63    73.63         0.00
Total:                                       774    335,416,513.83       100.00      7.065    2.882       716    76.24    76.80        18.50


                                               DESCRIPTION OF THE GROUP III COLLATERAL



                                               Gross Lifetime Maximum Rate of the Mortgage Loans
                                                                      % of Pool Weighted Weighted              Weighted Weighted
                                                                          by      Average Average Weighted Average Average
                                        Number        Principal       Principal    Gross    Gross     Average Original Combined     % Full
       Gross Lifetime Maximum Rate      of Loans       Balance        Balance     Coupon    Margin     FICO     LTV      LTV        Alt Doc
7.001% - 7.500%                                 2          319,700.00        0.10     7.345     2.913      680     82.69    82.69       26.86
9.501% - 10.000%                              437     226,405,712.56       67.50       6.82     2.681      714     73.18    73.96       13.39
10.001% - 10.500%                             195       59,652,549.37      17.78      7.457      3.06      724     75.35    75.53       20.71
10.501% - 11.000%                             140       49,038,551.90      14.62      7.721     3.594      717     91.41    91.41       39.35
Total:                                       774 335,416,513.83          100.00      7.065     2.882       716    76.24    76.80       18.50



                                               Rate Adjustment Frequency of the Mortgage Loans
                                                                     % of Pool Weighted Weighted               Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number        Principal      Principal    Gross     Gross     Average Original Combined     % Full
          Rate Adjustment Frequency     of Loans       Balance       Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
1                                             774     335,416,513.83     100.00      7.065      2.882      716     76.24    76.80       18.50
Total:                                       774 335,416,513.83         100.00      7.065      2.882       716    76.24    76.80       18.50



                                             Payment Adjustment Frequency of the Mortgage Loans
                                                                    % of Pool Weighted Weighted               Weighted Weighted
                                                                       by       Average Average Weighted Average Average
                                        Number       Principal      Principal    Gross      Gross    Average Original Combined      % Full
         Payment Adjustment Frequency   of Loans      Balance       Balance      Coupon    Margin     FICO     LTV      LTV         Alt Doc
1                                              13      4,919,200.00       1.47       6.35     3.029       714     74.58    78.93        35.44
12                                            761    330,497,313.83     98.53       7.076       2.88      716     76.26    76.77        18.25
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Total:                                   774    335,416,513.83    100.00      7.065      2.882       716      76.24      76.80       18.50



                                           DESCRIPTION OF THE GROUP III COLLATERAL



                                            Maximum Balance Amount of the Mortgage Loans
                                                                % of Pool Weighted Weighted              Weighted Weighted
                                                                    by      Average Average Weighted Average Average
                                     Number      Principal      Principal    Gross     Gross    Average Original Combined         % Full
         Maximum Balance Amount      of Loans     Balance       Balance     Coupon    Margin     FICO     LTV      LTV            Alt Doc
0                                           13     4,919,200.00        1.47      6.35     3.029      714     74.58    78.93           35.44
110                                        195    77,690,203.62      23.16      7.193     2.967      715     78.94    79.69           33.15
125                                        566   252,807,110.21      75.37       7.04     2.853      717     75.44    75.87           13.67
Total:                                    774 335,416,513.83       100.00      7.065     2.882       716    76.24    76.80           18.50



                                               Periodic Payment Cap of the Mortgage Loans
                                                                  % of Pool Weighted Weighted               Weighted Weighted
                                                                      by      Average Average Weighted Average Average
                                     Number        Principal      Principal    Gross      Gross    Average Original Combined      % Full
             Periodic Payment Cap    of Loans       Balance       Balance      Coupon     Margin    FICO     LTV      LTV         Alt Doc
0                                           13       4,919,200.00        1.47      6.35      3.029      714     74.58    78.93        35.44
7.5                                        761     330,497,313.83       98.53     7.076       2.88      716     76.26    76.77        18.25
Total:                                    774 335,416,513.83         100.00      7.065      2.882       716    76.24    76.80        18.50



                                              Original Loan-to-Value of the Mortgage Loans
                                                                  % of Pool Weighted Weighted                Weighted Weighted
                                                                      by      Average Average Weighted Average Average
                                     Number        Principal      Principal     Gross      Gross    Average Original Combined     % Full
                Original LTV         of Loans       Balance        Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
50.00% or less                              22      11,123,000.00        3.32      7.143      2.711      734     40.47    41.83        6.01
50.01% - 55.00%                              9       3,142,000.00        0.94      7.045      2.613      747     52.40    52.40       20.11
55.01% - 60.00%                             25      11,909,073.39        3.55      6.753      2.703      725     57.67    58.65       10.69
60.01% - 65.00%                             30      19,271,882.00        5.75      7.079      2.737      698     63.05    63.05        6.11
65.01% - 70.00%                             59      33,691,621.14      10.04       6.595      2.714      705     68.58    69.81        7.55
70.01% - 75.00%                            140      66,038,142.17      19.69       7.062      2.848      712     74.14    74.57        6.47
75.01% - 80.00%                            316     130,511,335.73      38.91       6.994      2.755      721     79.67    80.37       21.72
80.01% - 85.00%                              7       2,533,750.00        0.76      5.888      3.393      703     83.43    83.43        0.00
85.01% - 90.00%                            113      40,915,216.41      12.20       7.558      3.425      714     89.41    89.41       19.37
90.01% - 95.00%                             25       8,960,782.00        2.67      7.561      3.129      712     94.78    94.78       88.13
95.01% - 100.00%                            28       7,319,710.99        2.18      7.941      3.787      745     99.94    99.94      100.00
Total:                                    774 335,416,513.83         100.00       7.065      2.882       716    76.24    76.80       18.50


                                           DESCRIPTION OF THE GROUP III COLLATERAL



                                             Geographical Distribution of the Mortgage Loans
                                                                  % of Pool Weighted Weighted                Weighted Weighted
                                                                      by       Average Average Weighted Average Average
                                     Number        Principal      Principal     Gross      Gross    Average Original Combined     % Full
         Geographical Distribution   of Loans      Balance         Balance     Coupon     Margin     FICO     LTV      LTV        Alt Doc
California                                 243    129,156,442.95        38.51        7.02     2.847      725     75.17    75.52       10.46
Florida                                     98      39,218,187.39       11.69       6.958     2.814      718     76.45    76.45       17.87
New Jersey                                  50      23,051,006.00        6.87       7.002     2.916      700     76.82    77.75       19.48
Illinois                                    57      20,858,305.00        6.22       7.038     2.818      711     77.85    79.21       16.83
Arizona                                     50      19,843,008.00        5.92       7.152     2.923      703     75.43    76.56       30.65
Other                                      276    103,289,564.49        30.79       7.166      2.95      713     77.20    77.88       26.58
Total:                                    774 335,416,513.83         100.00        7.065     2.882       716    76.24    76.80       18.50



                                            California Loan Breakdown of the Mortgage Loans
                                                                  % of Pool Weighted Weighted              Weighted Weighted
                                                                     by       Average Average Weighted Average Average
                                     Number        Principal      Principal    Gross     Gross    Average Original Combined       % Full
        California Loan Breakdown    of Loans       Balance       Balance     Coupon     Margin    FICO     LTV      LTV          Alt Doc
Northern CA                                149      76,518,446.30     22.81       6.912      2.86      727     75.22    75.61          5.86
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Southern CA                             94        52,637,996.65     15.69     7.176     2.828      721       75.09     75.40       17.15
State not in CA                        531       206,260,070.88     61.49     7.094     2.904      711       76.91     77.60       23.53
Total:                                 774     335,416,513.83     100.00     7.065     2.882       716      76.24     76.80       18.50


                                         DESCRIPTION OF THE GROUP III COLLATERAL



                                               Top 10 Zip Codes of the Mortgage Loans
                                                                % of Pool Weighted Weighted              Weighted Weighted
                                                                     by      Average Average Weighted Average Average
                                  Number         Principal      Principal     Gross    Gross    Average Original Combined      % Full
              Top 10 Zip Codes    of Loans        Balance        Balance     Coupon    Margin    FICO     LTV      LTV         Alt Doc
11968                                     2        4,175,000.00         1.24     7.454    3.022      750     53.48    57.08         0.00
08402                                     2        2,860,000.00         0.85     7.732    3.300      678     73.96    73.96         0.00
94558                                     3        2,743,000.00         0.82     7.082    2.650      681     72.74    72.74         0.00
60025                                     2        2,557,600.00         0.76     7.232    2.800      725     80.00    86.88         0.00
10507                                     1        2,555,000.00         0.76     7.127    2.695      715     70.00    70.00         0.00
95003                                     4        2,428,400.00         0.72     6.872    2.440      715     75.34    80.97         0.00
97702                                     6        2,385,750.00         0.71     7.125    2.693      716     79.29    79.29        24.93
94568                                     4        2,323,170.00         0.69     4.118    2.872      736     78.88    78.88         0.00
60062                                     2        2,240,000.00         0.67     7.032    2.600      705     63.12    63.12         0.00
92679                                     1        2,130,000.00         0.64     7.832    3.400      703     77.45    77.45       100.00
Other                                   747      309,018,593.83       92.13      7.070    2.884      717     76.67    77.13        19.20
Total:                                 774     335,416,513.83       100.00      7.065    2.882       716    76.24    76.80        18.50



                                                 FICO Scores of the Mortgage Loans
                                                                % of Pool Weighted Weighted             Weighted Weighted
                                                                    by      Average Average Weighted Average Average
                                  Number         Principal      Principal    Gross    Gross    Average Original Combined       % Full
                  FICO Scores     of Loans        Balance        Balance    Coupon    Margin    FICO     LTV      LTV          Alt Doc
600 or less or not available              1          297,000.00        0.09     8.002    3.570      586     90.00    90.00          0.00
601 - 620                                 5        2,189,192.00        0.65     7.386    2.954      617     75.69    75.69         60.80
621 - 640                                19        7,420,518.14        2.21     7.097    2.752      632     67.62    67.62         17.13
641 - 660                                58       27,749,654.30        8.27     6.794    2.803      652     73.74    74.14         19.64
661 - 680                               100       39,099,278.22      11.66      6.917    2.834      671     78.11    78.46         16.13
681 - 700                               125       58,754,940.68      17.52      7.000    2.931      691     77.12    77.91         16.75
701 - 720                               125       55,104,144.00      16.43      7.255    2.978      710     78.91    79.26         20.88
721 - 740                                84       36,591,990.94      10.91      6.814    2.839      730     76.16    76.53         13.01
741 - 760                                80       41,898,190.89      12.49      7.310    2.879      750     71.86    73.15         12.31
761 greater than or equal to            177       66,311,604.66      19.77      7.132    2.856      783     76.90    77.36         24.77
Total:                                 774     335,416,513.83      100.00      7.065    2.882       716    76.24    76.80         18.50


                                         DESCRIPTION OF THE GROUP III COLLATERAL



                                              Mortgage Properties of the Mortgage Loans
                                                                % of Pool Weighted Weighted               Weighted Weighted
                                                                    by       Average Average Weighted Average Average
                                  Number         Principal      Principal     Gross     Gross    Average Original Combined     % Full
            Mortgage Properties   of Loans        Balance        Balance     Coupon     Margin    FICO     LTV      LTV        Alt Doc
PUD                                     178       81,829,350.21       24.40      7.142     2.895      714     77.14    77.73       23.27
Condominium                              87       29,113,108.85        8.68      6.999     2.906      723     80.33    81.02       18.21
Coop                                      3          479,360.00        0.14      7.059     2.627      674     86.26    86.26      100.00
Single Family                           460      205,293,207.35       61.21      7.011     2.865      716     75.38    75.96       16.05
Two- to Four Family                      46       18,701,487.42        5.58      7.423     2.991      717     75.10    75.10       22.94
Total:                                 774     335,416,513.83      100.00       7.065     2.882       716    76.24    76.80       18.50



                                               Occupancy Types of the Mortgage Loans
                                                                % of Pool Weighted Weighted            Weighted Weighted
                                                                   by      Average Average Weighted Average Average
                                  Number         Principal      Principal   Gross    Gross    Average Original Combined        % Full
              Occupancy Types     of Loans       Balance        Balance     Coupon   Margin    FICO     LTV      LTV           Alt Doc
Investor                                197       60,022,537.37      17.89     7.456    3.059      723     75.38    75.56          20.81
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Primary                                      506     243,487,414.03    72.59     6.954      2.840       713      76.20      76.79       18.25
Secondary                                     71      31,906,562.43     9.51      7.180     2.875      727       78.11      79.19       16.06
Total:                                       774    335,416,513.83    100.00     7.065     2.882       716      76.24      76.80       18.50



                                                     Loan Purpose of the Mortgage Loans
                                                                     % of Pool Weighted Weighted            Weighted Weighted
                                                                         by     Average Average Weighted Average Average
                                        Number        Principal      Principal   Gross    Gross    Average Original Combined        % Full
               Loan Purpose             of Loans       Balance       Balance    Coupon    Margin    FICO     LTV      LTV           Alt Doc
Purchase                                      290     115,773,824.19      34.52     7.343    3.013      728     82.72    83.44          27.35
Refinance - Rate Term                         124      57,515,879.28      17.15     7.029    3.009      705     78.15    79.35          14.00
Refinance - Cashout                           360     162,126,810.36      48.34     6.880    2.744      712     70.93    71.15          13.78
Total:                                       774    335,416,513.83      100.00     7.065    2.882       716    76.24    76.80          18.50


                                               DESCRIPTION OF THE GROUP III COLLATERAL



                                                     Document Type of the Mortgage Loans
                                                                     % of Pool Weighted Weighted             Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number        Principal      Principal    Gross    Gross    Average Original Combined       % Full
              Document Type             of Loans       Balance       Balance     Coupon    Margin    FICO     LTV      LTV          Alt Doc
Full                                          192      62,055,973.05      18.50      7.290    2.998      718     82.73    83.35        100.00
Reduced                                       525     252,044,756.95      75.14      7.044    2.862      717     75.69    76.22          0.00
Stated Doc                                     57      21,315,783.83        6.36     6.656    2.785      699     63.87    64.58          0.00
Total:                                       774    335,416,513.83      100.00      7.065    2.882       716    76.24    76.80         18.50



                                                     Recast Period of the Mortgage Loans
                                                                     % of Pool Weighted Weighted             Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number        Principal      Principal    Gross    Gross    Average Original Combined       % Full
               Recast Period            of Loans       Balance        Balance    Coupon    Margin    FICO     LTV      LTV          Alt Doc
0                                              13       4,919,200.00        1.47     6.350    3.029      714     74.58    78.93         35.44
60                                            761     330,497,313.83      98.53      7.076    2.880      716     76.26    76.77         18.25
Total:                                       774    335,416,513.83      100.00      7.065    2.882       716    76.24    76.80         18.50



                                           First Payment Adjustment (Months) of the Mortgage Loans
                                                                     % of Pool Weighted Weighted               Weighted Weighted
                                                                         by      Average Average Weighted Average Average
                                        Number        Principal      Principal    Gross      Gross    Average Original Combined     % Full
    First Payment Adjustment (Months)   of Loans      Balance        Balance      Coupon    Margin     FICO     LTV      LTV        Alt Doc
1                                              13       4,919,200.00        1.47      6.350     3.029      714     74.58    78.93       35.44
12                                            620    280,229,004.42       83.55       7.075     2.889      717     75.89    76.38       16.98
60                                            141      50,268,309.41      14.99       7.078     2.833      713     78.32    78.94       25.32
Total:                                       774 335,416,513.83         100.00       7.065     2.882       716    76.24    76.80       18.50
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                                  FOR ADDITIONAL INFORMATION PLEASE CALL:

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